              Case 19-54537-jwc                  Doc 1              Filed 03/22/19 Entered 03/22/19 12:14:45                           Desc
                                                                    Petition Page 1 of 62
 Fill in this information to identify your case:
                                                                                                                   ..U.S:. .B.ANKRLIPTCY COTIRT
 United States Bankruptcy Court for the:                                                                               NORTHE---Rti DISTRICT .
                                                                                                                              OF .CEORGI A
 NORTHERN DISTRICT OF GEORGIA

 Case number (if known):                                      Chapter you are filing under:                      .21119 MAR     22 PM 12: 1 2
                                                              IZI Chapter 7
                                                                                                                           FL REGINA:THOMAS
                                                              o Chapter 11
                                                                                                                                CLERK
                                 537                          o Chapter 12
                                                              o Chapter 13




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                          12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case
together--called a joint case--and in joint cases, these forms use you to ask for information from both debtors. For example, if
a form asks, "Do you own a car," the answer would be yes if either debtor owns a car. When information is needed about the
spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the spouses
must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.



 Part 1:       Identify Yourself
                                       About Debtor 1:                                        About Debtor 2 (Spouse Only in a Joint Case):
1.   Your full name
     Write the name that is on your
                                       David
     government-issued picture
                                       First Name                                             First Name
     identification (for example,
     your driver's license or          Emmanuel
     passport).                        Middle Name                                            Middle Name

                                       Benton
     Bring your picture                Last Name                                              Last Name
     identification to your meeting
     with the trustee.                 Suffix (Sr., Jr., II, Ill)                             Suffix (Sr., Jr., II, Ill)


2.   All other names you
     have used in the last 8           First Name                                             First Name
     years
                                       Middle Name                                            Middle Name
     Include your married or
     maiden names.
                                       Last Name                                              Last Name


3.   Only the last 4 digits of
     your Social Security                                           4    3        5       5
     number or federal                                                                        OR
     Individual Taxpayer
     Identification number                                                                    9xx — xx —
     (ITIN)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                            page 1
              Case 19-54537-jwc               Doc 1     Filed 03/22/19 Entered 03/22/19 12:14:45                                   Desc
                                                        Petition Page 2 of 62

Debtor 1     David Emmanuel Benton                                                    Case number (if known)

                                  About Debtor 1:                                         About Debtor 2 (Spouse Only in a Joint Case):
4.   Any business names           El I have not used any business names or EINs.          El I have not used any business names or EINs.
     and Employer
     Identification Numbers
     (EIN) you have used in       Business name                                           Business name
     the last 8 years
                                  Business name                                           Business name
     Include trade names and
     doing business as names
                                  Business name                                           Business name


                                  EIN                                                     EIN

                                          —
                                  EIN                                                     EIN
5.   Where you live                                                                       If Debtor 2 lives at a different address:

                                  2433 Wed gewood Ct
                                  Number       Street                                     Number      Street




                                  Decatur                     GA       30035
                                  City                         State   ZIP Code           City                           State    ZIP Code

                                  DeKalb
                                  County                                                  County

                                  If your mailing address is different from               If Debtor 2's mailing address is different
                                  the one above, fill it in here. Note that the           from yours, fill it in here. Note that the court
                                  court will send any notices to you at this              will send any notices to you at this mailing
                                  mailing address.                                        address.



                                  Number       Street                                     Number      Street


                                  P.O. Box                                                P.O. Box


                                  City                         State   ZIP Code           City                           State    ZIP Code


6.   Why you are choosing         Check one:                                              Check one:
     this district to file for
     bankruptcy                   Er Over the last 180 days before filing this                   Over the last 180 days before filing this
                                     petition, I have lived in this district longer              petition, I have lived in this district longer
                                     than in any other district.                                 than in any other district.


                                     o    I have another reason. Explain.                  o     I have another reason. Explain.
                                          (See 28 U.S.C. § 1408.)                                (See 28 U.S.C. § 1408.)


 Part 2:       Tell the Court About Your Bankruptcy Case

7.   The chapter of the          Check one: (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
     Bankruptcy Code you         for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     are choosing to file
     under                       Er Chapter 7

                                 o       Chapter 11

                                 ID Chapter 12

                                 1:1 Chapter 13



Official Form 101                        Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 2
             Case 19-54537-jwc             Doc 1     Filed 03/22/19 Entered 03/22/19 12:14:45                               Desc
                                                     Petition Page 3 of 62

Debtor 1    David Emmanuel Benton                                                 Case number (if known)

8.   How you will pay the fee   El I will pay the entire fee when I file my petition. Please check with the clerk's office in your local
                                   court for more details about how you may pay. Typically, if you are paying the fee yourself, you may
                                   pay with cash, cashier's check, or money order. If your attorney is submitting your payment on your
                                   behalf, your attorney may pay with a credit card or check with a pre-printed address.

                                     I need to pay the fee in installments. If you choose this option, sign and attach the Application for
                                     Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                El I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                   By law, a judge may, but is not required to, waive your fee, and may do so only if your income is less
                                   than 150% of the official poverty line that applies to your family size and you are unable to pay the
                                   fee in installments). If you choose this option, you must fill out the Application to Have the Chapter 7
                                   Filing Fee Waived (Official Form 103B) and file it with your petition.


9.   Have you filed for         El No
     bankruptcy within the
     last 8 years?              ID Yes.

                                District                                              When                    Case number
                                                                                             MM/DD/YYYY
                                District                                              When                    Case number
                                                                                             MM/DD/reW
                                District                                              When                    Case number
                                                                                             mM DD / YYYY
10. Are any bankruptcy          IZI' No
    cases pending or being
    filed by a spouse who is    El Yes.
    not filing this case with
                                Debtor                                                            Relationship to you
    you, or by a business
    partner, or by an           District                                              When                    Case number,
    affiliate?                                                                               MM / DD / YYYY   if known


                                Debtor                                                            Relationship to you

                                District                                              When                    Case number,
                                                                                             MM / DD / YYYY   if known

11. Do you rent your            El No.      Go to line 12.
    residence?                  IZI Yes. Has your landlord obtained an eviction judgment against you?

                                            Er   No. Go to line 12.
                                            El Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A)
                                               and file it as part of this bankruptcy petition.




Official Form 101                      Voluntary Petition for Individuals Filing for Bankruptcy                                        page 3
             Case 19-54537-jwc                  Doc 1       Filed 03/22/19 Entered 03/22/19 12:14:45                               Desc
                                                            Petition Page 4 of 62

Debtor 1    David Emmanuel Benton                                                       Case number (if known)


 Part 3:      Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor        2    No. Go to Part 4.
    of any full- or part-time        O    Yes. Name and location of business
    business?

    A sole proprietorship is a
                                                 Name of business, if any
    business you operate as an
    individual, and is not a
    separate legal entity such as                Number     Street
    a corporation, partnership, or
    LLC.

    If you have more than one                    City                                                    State          ZIP Code
    sole proprietorship, use a
    separate sheet and attach it                 Check the appropriate box to describe your business:
    to this petition.
                                                 O      Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                 O      Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                 O      Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                 O      Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                 O      None of the above

13. Are you filing under             If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
    Chapter 11 of the                can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
    Bankruptcy Code and              most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return
    are you a small business         or if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    debtor?
                                     2    No.    I am not filing under Chapter 11.

                                     El No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
    For a definition of small
                                                 the Bankruptcy Code.
    business debtor, see
    11 U.S.C. § 101(51D).            O    Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                               Bankruptcy Code.


 Part 4:      Report If You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any           2    No
    property that poses or is        O    Yes. What is the hazard?
    alleged to pose a threat of
    imminent and identifiable
    hazard to public health or
    safety? Or do you own
    any property that needs                      If immediate attention is needed, why is it needed?
    immediate attention?

    For example, do you own
    perishable goods, or
    livestock that must be fed, or               Where is the property?
    a building that needs urgent                                            Number   Street
    repairs?



                                                                            City                                    State          ZIP Code




Official Form 101                          Voluntary Petition for Individuals Filing for Bankruptcy                                           page 4
              Case 19-54537-jwc                 Doc 1       Filed 03/22/19 Entered 03/22/19 12:14:45                               Desc
                                                            Petition Page 5 of 62

Debtor 1    David Emmanuel Benton                                                        Case number (if known)


 Part 5:      Explain Your Efforts to Receive a Briefing About Credit Counseling
15. Tell the court          About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
    whether you             You must check one:                                          You must check one:
    have received a         El I received a briefing from an approved credit             El I received a briefing from an approved credit
    briefing about             counseling agency within the 180 days before I               counseling agency within the 180 days before I
    credit                     filed this bankruptcy petition, and I received a             filed this bankruptcy petition, and I received a
    counseling.                certificate of completion.                                   certificate of completion.
                               Attach a copy of the certificate and the payment             Attach a copy of the certificate and the payment
    The law requires           plan, if any, that you developed with the agency.            plan, if any, that you developed with the agency.
    that you receive a
                            El I received a briefing from an approved credit             El I received a briefing from an approved credit
    briefing about credit
                               counseling agency within the 180 days before I               counseling agency within the 180 days before I
    counseling before
                               filed this bankruptcy petition, but I do not have            filed this bankruptcy petition, but I do not have
    you file for
                               a certificate of completion.                                 a certificate of completion.
    bankruptcy. You
    must truthfully            Within 14 days after you file this bankruptcy petition,      Within 14 days after you file this bankruptcy petition,
    check one of the           you MUST file a copy of the certificate and payment          you MUST file a copy of the certificate and payment
    following choices.         plan, if any.                                                plan, if any.
    If you cannot do so,    El I certify that I asked for credit counseling              El I certify that I asked for credit counseling
    you are not eligible       services from an approved agency, but was                    services from an approved agency, but was
    to file.                   unable to obtain those services during the 7                 unable to obtain those services during the 7
                               days after I made my request, and exigent                    days after I made my request, and exigent
    If you file anyway,        circumstances merit a 30-day temporary                       circumstances merit a 30-day temporary
    the court can              waiver of the requirement.                                   waiver of the requirement.
    dismiss your case,
    you will lose              To ask for a 30-day temporary waiver of the                  To ask for a 30-day temporary waiver of the
    whatever filing fee        requirement, attach a separate sheet explaining what         requirement, attach a separate sheet explaining what
    you paid, and your         efforts you made to obtain the briefing, why you             efforts you made to obtain the briefing, why you
    creditors can begin        were unable to obtain it before you filed for                were unable to obtain it before you filed for
    collection activities      bankruptcy, and what exigent circumstances                   bankruptcy, and what exigent circumstances
    again.                     required you to file this case.                              required you to file this case.

                               Your case may be dismissed if the court is                   Your case may be dismissed if the court is
                               dissatisfied with your reasons for not receiving a           dissatisfied with your reasons for not receiving a
                               briefing before you filed for bankruptcy.                    briefing before you filed for bankruptcy.

                               If the court is satisfied with your reasons, you must        If the court is satisfied with your reasons, you must
                               still receive a briefing within 30 days after you file.      still receive a briefing within 30 days after you file.
                               You must file a certificate from the approved agency,        You must file a certificate from the approved agency,
                               along with a copy of the payment plan you                    along with a copy of the payment plan you
                               developed, if any. If you do not do so, your case            developed, if any. If you do not do so, your case
                               may be dismissed.                                            may be dismissed.

                               Any extension of the 30-day deadline is granted only         Any extension of the 30-day deadline is granted only
                               for cause and is limited to a maximum of 15 days.            for cause and is limited to a maximum of 15 days.

                            El I am not required to receive a briefing about             El I am not required to receive a briefing about
                               credit counseling because of:                                credit counseling because of:
                               El Incapacity.     I have a mental illness or a mental       El Incapacity.     I have a mental illness or a mental
                                                  deficiency that makes me                                     deficiency that makes me
                                                  incapable of realizing or making                             incapable of realizing or making
                                                  rational decisions about finances.                           rational decisions about finances.
                               El Disability.     My physical disability causes me          El Disability.     My physical disability causes me
                                                  to be unable to participate in a                             to be unable to participate in a
                                                  briefing in person, by phone, or                             briefing in person, by phone, or
                                                  through the internet, even after I                           through the internet, even after I
                                                  reasonably tried to do so.                                   reasonably tried to do so.
                               El Active duty. I am currently on active military            El Active duty. I am currently on active military
                                               duty in a military combat zone.                              duty in a military combat zone.
                               If you believe you are not required to receive a             If you believe you are not required to receive a
                               briefing about credit counseling, you must file a            briefing about credit counseling, you must file a
                               motion for waiver of credit counseling with the court.       motion for waiver of credit counseling with the court.


Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                            page 5
             Case 19-54537-jwc                    Doc 1        Filed 03/22/19 Entered 03/22/19 12:14:45                              Desc
                                                               Petition Page 6 of 62

Debtor 1     David Emmanuel Benton                                                          Case number (if known)

 Part 6:      Answer These Questions for Reporting Purposes
16. What kind of debts do you        16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
    have?                                 as "incurred by an individual primarily for a personal, family, or household purpose."
                                          El No. Go to line 16b.
                                          1E1 Yes. Go to line 17.

                                     16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                          money for a business or investment or through the operation of the business or investment.
                                          El No. Go to line 16c.
                                          El Yes. Go to line 17.

                                     16c. State the type of debts you owe that are not consumer or business debts.


17. Are you filing under
    Chapter 7?                       1:1 No.         lam not filing under Chapter 7. Go to line 18.

    Do you estimate that after                 Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is                          administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and
    administrative expenses                               No
    are paid that funds will be
                                                     El Yes
    available for distribution
    to unsecured creditors?

20. How many creditors do                      1-49                        El 1,000-5,000                     El 25,001-50,000
    you estimate that you                      50-99                       El 5,001-10,000                    El 50,001-100,000
    owe?                                       100-199                     El 10,001-25,000                   El More than 100,000
                                               200-999
                                   DOOM DOOM




18. How much do you                            $0-$50,000                       $1,000,001-$10 million             $500,000,001-$1 billion
    estimate your assets to                    $50,001-$100,000                 $10,000,001-$50 million            $1,000,000,001-$10 billion
    be worth?                                  $100,001-$500,000                $50,000,001-$100 million           $10,000,000,001-$50 billion
                                               $500,001-$1 million              $100,000,001-$500 million          More than $50 billion

19. How much do you                            $0-$50,000                       $1,000,001-$10 million             $500,000,001-$1 billion
    estimate your liabilities to               $50,001-$100,000                 $10,000,001-$50 million            $1,000,000,001-$10 billion
    be?                                        $100,001-$500,000                $50,000,001-$100 million           $10,000,000,001-$50 billion
                                               $500,001-$1 million              $100,000,001-$500 million          More than $50 billion




Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                                        page 6
             Case 19-54537-jwc            Doc 1       Filed 03/22/19 Entered 03/22/19 12:14:45                               Desc
                                                      Petition Page 7 of 62

Debtor 1    David Emmanuel Benton                                                 Case number (if known)


 Part 7:      Sign Below

For you                      I have examined this petition, and I declare under penalty of perjury that the information provided is true
                             and correct.

                             If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11, 12,
                             or 13 of title 11, United States Code. I understand the relief available under each chapter, and I choose to
                             proceed under Chapter 7.

                             If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me
                             fill out this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                             I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                             I understand making a false statement, concealing property, or obtaining money or property by fraud in
                             connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
                             or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


                             X      (                                                    X
                                 David Emmanuel Benton, ebtor 1                              Signature of Debtor 2

                                 Executed on 03/18/2019                                      Executed on
                                             MM / DD / YYYY                                                MM / DD / YYYY




Official Form 101                       Voluntary Petition for Individuals Filing for Bankruptcy                                            page 7
              Case 19-54537-jwc            Doc 1      Filed 03/22/19 Entered 03/22/19 12:14:45                                 Desc
                                                      Petition Page 8 of 62

Debtor 1     David Emmanuel Benton                                                   Case number (if known)

For you if you are filing this   The law allows you, as an individual, to represent yourself in bankruptcy court, but you should
bankruptcy without an            understand that many people find it extremely difficult to represent themselves
attorney                         successfully. Because bankruptcy has long-term financial and legal consequences, you are
                                 strongly urged to hire a qualified attorney.
If you are represented by an
attorney, you do not need to     To be successful, you must correctly file and handle your bankruptcy case. The rules are very technical,
file this page.                  and a mistake or inaction may affect your rights. For example, your case may be dismissed because you
                                 did not file a required document, pay a fee on time, attend a meeting or hearing, or cooperate with the
                                 court, case trustee, U.S. trustee, bankruptcy administrator, or audit firm if your case is selected for audit.
                                 If that happens, you could lose your right to file another case, or you may lose protections, including the
                                 benefit of the automatic stay.

                                 You must list all your property and debts in the schedules that you are required to file with the court. Even
                                 if you plan to pay a particular debt outside of your bankruptcy, you must list that debt in your schedules. If
                                 you do not list a debt, the debt may not be discharged. If you do not list property or properly claim it as
                                 exempt, you may not be able to keep the property. The judge can also deny you a discharge of all your
                                 debts if you do something dishonest in your bankruptcy case, such as destroying or hiding property,
                                 falsifying records, or lying. Individual bankruptcy cases are randomly audited to determine if debtors have
                                 been accurate, truthful, and complete. Bankruptcy fraud is a serious crime; you could be fined and
                                 imprisoned.

                                 If you decide to file without an attorney, the court expects you to follow the rules as if you had hired an
                                 attorney. The court will not treat you differently because you are filing for yourself. To be successful,
                                 you must be familiar with the United States Bankruptcy Code, the Federal Rules of Bankruptcy Procedure,
                                 and the local rules of the court in which your case is filed. You must also be familiar with any state
                                 exemption laws that apply.

                                 Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
                                 consequences?

                                 o     No
                                 ▪     Yes

                                 Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are inaccurate
                                 or incomplete, you could be fined or imprisoned?

                                 Ei  No
                                 IZI Yes

                                 Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?

                                 ▪  No
                                 El Yes. Name of Person Charles M. Langevin, Jr.
                                         Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature             (Official Form 119).

                                 By signing here, I acknowledge that I understand the risks involved in filing without an attorney. I have
                                 read and understood this notice, and I am aware that filing a bankruptcy case without an attorney may
                                 cause me to lose my rights or property if I do not properly handle the case.


                                 X                                                          X
                                      Da     Emmanuel Benton, Debtor 1                          Signature of Debtor 2

                                      Date 03/18/2019                                           Date
                                           MM / DD / YYYY                                              MM / DD / YYYY

                                      Contact phone (678) 908-5217                              Contact phone

                                      Cell phone      (678) 908-5217                            Cell phone

                                      Email address   davidbenton980gmall.com                   Email address




Official Form 101                       Voluntary Petition for Individuals Filing for Bankruptcy                                           page 8
               Case 19-54537-jwc                   Doc 1       Filed 03/22/19 Entered 03/22/19 12:14:45                                Desc
                                                               Petition Page 9 of 62
 Fill in this information to identify your case:
 Debtor 1            David                  Emmanuel             Benton
                     First Name             Middle Name          Last Name

 Debtor 2
 (Spouse, if filing) First Name             Middle Name          Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF GEORGIA

 Case number
 (if known)
                                                                                                                  o   Check if this is an
                                                                                                                      amended filing

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                           04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

1.   What is your current marital status?
     El Married
     IZI Not married

2.   During the last 3 years, have you lived anywhere other than where you live now?
        No
     Er Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
        Debtor 1:                                         Dates Debtor 1        Debtor 2:                                         Dates Debtor 2
                                                          lived there                                                             lived there
                                                                                El     Same as Debtor 1                                Same as Debtor 1


        45 Carver St.                                     From    01/2016                                                         From
        Number      Street                                                      Number      Street
                                                          To      01/2017                                                         To


        Alexander City            AL       35010
        City                      State    ZIP Code                             City                      State   ZIP Code


3.   Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?
     (Community property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,
     Washington, and Wisconsin.)
     El No
     El Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 1
              Case 19-54537-jwc                  Doc 1          Filed 03/22/19 Entered 03/22/19 12:14:45                         Desc
                                                               Petition Page 10 of 62

Debtor 1     David Emmanuel Benton                                                      Case number (if known)

 Part 2:       Explain the Sources of Your Income

4.   Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

     O No
     ▪ Yes. Fill in the details.

                                                                                                   Ltblabt
                                                  Sources of income         Gross income           Sources of income         Gross income
                                                  Check all that apply.     (before deductions     Check all that apply.     (before deductions
                                                                            and exclusions                                   and exclusions

From January 1 of the current year until          IE1Wages, commissions,             $3,770.89 El Wages, commissions,
the date you filed for bankruptcy:                   bonuses, tips                                bonuses, tips
                                                  El Operating a business                          0 Operating a business


For the last calendar year:                       Er Wages, commissions,             $1,649.63      Ei Wages, commissions,
                                                     bonuses, tips                                    bonuses, tips
(January 1 to December 31, 2018 )
                           YYYY                   O Operating a business                           El Operating a business


For the calendar year before that:                IZIWages, commissions,            $18,160.00        Wages, commissions,
                                                     bonuses, tips                                    bonuses, tips
(January I to December 31, 2017 )
                                                  O Operating a business                           El Operating a business
                           YYYY
5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security;
     unemployment; and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
     and gambling and lottery winnings. If you are in a joint case and you have income that you received together, list it only once under
     Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

     O No
     lE1 Yes. Fill in the details.


                                                   .4D-'0150
                                                  kit -Y:44k
                                                  Sources of income           Gross income         Sources of income           Gross income
                                                  Describe below.             from each source     Describe below.             from each source
                                                                              (before deductions                               (before deductions
                                                                              and exclusions                                   and exclusions

                                                  Church Income                       $8,000.00
From January 1 of the current year until
the date you filed for bankruptcy:



                                                  Church Income                     $38,400.00
For the last calendar year:
(January 1 to December 31,      2018 )
                              YYYY


                                                  Church Income                     $38,400.00
For the calendar year before that:
(January Ito December 31, 2017 )
                           YYYY




Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 2
               Case 19-54537-jwc                Doc 1        Filed 03/22/19 Entered 03/22/19 12:14:45                                 Desc
                                                            Petition Page 11 of 62

Debtor 1      David Emmanuel Benton                                                       Case number (if known)


 Part 3:       List Certain Payments You Made Before You Filed for Bankruptcy
6.   Are either Debtor l's or Debtor 2's debts primarily consumer debts?

     El No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                "incurred by an individual primarily for a personal, family, or household purpose."

                During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

                El No. Go to line 7.

                El Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
                        total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                        child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

                * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

                During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                    No. Go to line 7.

                El Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                        creditor. Do not include payments for domestic support obligations, such as child support and alimony.
                        Also, do not include payments to an attorney for this bankruptcy case.

7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations
     such as child support and alimony.

     IZI No
     El Yes. List all payments to an insider.

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that
     benefited an insider?
     Include payments on debts guaranteed or cosigned by an insider.

        No
     El Yes. List all payments that benefited an insider.




Official Form 107                       Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 3
                 Case 19-54537-jwc                    Doc 1       Filed 03/22/19 Entered 03/22/19 12:14:45                                Desc
                                                                 Petition Page 12 of 62

Debtor 1        David Emmanuel Benton                                                            Case number (if known)

 Part 4:          Identify Legal Actions, Repossessions, and Foreclosures

9.     Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
       List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
       modifications, and contract disputes.

       El No
       IZI Yes. Fill in the details.

Case title                                     Nature of the case                        Court or agency                             Status of the case
Cavalry Portfolio Services v.                  Civil Lawsuit on Account                  DeKalb County Magistrate Court
                                                                                                                                             El Pending
David Benton                                                                             Court Name
                                                                                         556 N. McDonough St.                                El On appeal
                                                                                         Number      Street
Case number 18M01267                                                                                                                         El Concluded

                                                                                         Decatur                   GA       30030
                                                                                         City                      State    ZIP Code

Case title                                      Nature of the case                       Court or agency                               Status of the case
Portfolio Recovery v. David                     Civil Lawsuit on Account                 DeKalb County Magistrate Court
                                                                                                                                             El Pending
Benton                                                                                    Court Name
                                                                                          556 N. McDonough St.                               El On appeal
                                                                                          Number      Street
Case number 18M99113                                                                                                                         El Concluded

                                                                                          Decatur                  GA       30030
                                                                                          City                     State    ZIP Code

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached,
    seized, or levied?
       Check all that apply and fill in the details below.

       El No. Go to line 11.
       El Yes. Fill in the information below.

                                                                Describe the property                             Date              Value of the property
State Farm Bank                                                 2014 Chrysler 300                                     08/2018             $10,000.00
Creditor's Name
PO Box 853944
Number       Street                                             Explain what happened
                                                                Er Property was repossessed.
                                                                El Property was foreclosed.
                                                                El Property was garnished.
Richardson                             TX         75085
City                                   State      ZIP Code      El Property was attached, seized, or levied.




 Official Form 107                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 4
                 Case 19-54537-jwc                  Doc 1       Filed 03/22/19 Entered 03/22/19 12:14:45                            Desc
                                                               Petition Page 13 of 62

Debtor 1       David Emmanuel Benton                                                       Case number (if known)

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any
    amounts from your accounts or refuse to make a payment because you owed a debt?

       Er No
       O Yes. Fill in the details.

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
    creditors, a court-appointed receiver, a custodian, or another official?

       El No
       O Yes

 Part 5:         List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

       Er No
       El Yes. Fill in the details for each gift.

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600
    to any charity?


       El No
       0 Yes. Fill in the details for each gift or contribution.

 Part 6:         List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire,
    other disaster, or gambling?

       El No
       ▪ Yes. Fill in the details.

  Part 7:        List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
       Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required for your bankruptcy.

       0 No
       El Yes. Fill in the details.

                                                      Description and value of any property transferred         Date payment        Amount of
                                                      Payment for Bankruptcy Petition Preparation               or transfer was     payment
Charles M. Langevin, Jr.
Person Who Was Paid                                                                                             made

201 17th Street, N.W.                                                                                              02/14/2019           $300.00
Number      Street

Suite 300

Atlanta                       GA       30363
City                          State    ZIP Code

https://www.simplifieddocuments.com
Email or website address


Person Who Made the Payment, if Not You




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 5
                 Case 19-54537-jwc                Doc 1        Filed 03/22/19 Entered 03/22/19 12:14:45                              Desc
                                                              Petition Page 14 of 62

Debtor 1       David Emmanuel Benton                                                       Case number (if known)

                                                    Description and value of any property transferred           Date payment        Amount of
                                                    Payment for Credit Counseling Briefing                      or transfer was     payment
Dollar Learning Foundation
Person Who Was Paid                                                                                             made

21900 Burbank Blvd                                                                                                 03/18/2019              $9.95
Number     Street




Woodland Hills               CA       91367
City                         State    ZIP Code

www.bothcourses.com
Email or website address


Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone who promised to help you deal with your creditors or to make payments to your creditors?
       Do not include any payment or transfer that you listed on line 16.

          No
       El Yes. Fill in the details.

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
    property transferred in the ordinary course of your business or financial affairs?
       Include both outright transfers and transfers made as security (such as granting of a security interest or mortgage on your property).
       Do not include gifts and transfers that you have already listed on this statement.


       10 No
       El Yes. Fill in the details.

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
    you are a beneficiary? (These are often called asset-protection devices.)
       10 No
       El Yes. Fill in the details.

  Part 8:           List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units
20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
    benefit, closed, sold, moved, or transferred?
       Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
       houses, pension funds, cooperatives, associations, and other financial institutions.

       Er No
       El Yes. Fill in the details.




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 6
                  Case 19-54537-jwc            Doc 1       Filed 03/22/19 Entered 03/22/19 12:14:45                         Desc
                                                          Petition Page 15 of 62

Debtor 1        David Emmanuel Benton                                                 Case number (if known)

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository
    for securities, cash, or other valuables?

        12I No
        El Yes. Fill in the details.

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
    121 No
    El Yes. Fill in the details.

    Part 9:       Identify Property You Hold or Control for Someone Else
23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
    or hold in trust for someone.

        121 No
        El Yes. Fill in the details.


     Part 10:     Give Details About Environmental Information
For the purpose of Part 10, the following definitions apply:

•     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
      hazardous or toxic substance, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
      including statutes or regulations controlling the cleanup of these substances, wastes, or material.
•     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
      utilize it or used to own, operate, or utilize it, including disposal sites.

•     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
      substance, hazardous material, pollutant, contaminant, or similar item.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental
    law?


        121 No
        El Yes. Fill in the details.

25. Have you notified any governmental unit of any release of hazardous material?
    121 No
    El Yes. Fill in the details.

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and
    orders.

        10 No
        El Yes. Fill in the details.




    Official Form 107                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                         page 7
                 Case 19-54537-jwc                 Doc 1         Filed 03/22/19 Entered 03/22/19 12:14:45                            Desc
                                                                Petition Page 16 of 62

Debtor 1        David Emmanuel Benton                                                        Case number (if known)

 Part 11:        Give Details About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
    business?

           o A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           El   A member of a limited liability company (LLC) or limited liability partnership (LLP)
           El   A partner in a partnership
           El   An officer, director, or managing executive of a corporation
           El   An owner of at least 5% of the voting or equity securities of a corporation

    lE1 No. None of the above applies. Go to Part 12.
    Ei  Yes. Check all that apply above and fill in the details below for each business.

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include
    all financial institutions, creditors, or other parties.

    El No
    El Yes. Fill in the details below.

 Part 12:        Sign Below
I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury
that answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                            X
   David Emmanuel Benton, Debtor 1                              Signature of Debtor 2

   Date       03/18/2019                                        Date


Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

▪ No
El Yes


Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

▪ No
IZI Yes. Name of person        Charles M. Langevin, Jr.                                            Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                   Declaration, and Signature (Official Form 119).




Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 8
                 Case 19-54537-jwc              Doc 1       Filed 03/22/19 Entered 03/22/19 12:14:45                           Desc
                                                           Petition Page 17 of 62
 Fill in this information to identify your case and this filing:
 Debtor 1           David                 Emmanuel             Benton
                    First Name            Middle Name           Last Name

 Debtor 2
 (Spouse, if filing) First Name           Middle Name           Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF GEORGIA

 Case number                                                                                                   Check if this is an
 (if known)                                                                                                o
                                                                                                               amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                  12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:         Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
       IZI No. Go to Part 2.
       ▪   Yes. Where is the property?

2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any
       entries for pages you have attached for Part 1. Write that number here
                                                                                                                                        $0.00


 Part 2:         Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.     Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

       ▪   No
       ▪   Yes

4.     Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
       El No
       o Yes

5.     Add the dollar value of the portion you own for all of your entries from Part 2, including any
                                                                                                                                        $0.00
       entries for pages you have attached for Part 2. Write that number here


     Part 3:     Describe Your Personal and Household Items
                                                                                                                        Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                       portion you own?
                                                                                                                        Do not deduct secured
                                                                                                                        claims or exemptions.

6.     Household goods and furnishings
       Examples: Major appliances, furniture, linens, china, kitchenware
       ▪ No
       El Yes. Describe           Household goods                                                                                    $3,500.00




Official Form 106A/B                                          Schedule A/B: Property                                                     page 1
                   Case 19-54537-jwc              Doc 1        Filed 03/22/19 Entered 03/22/19 12:14:45                     Desc
                                                              Petition Page 18 of 62

Debtor 1        David Emmanuel Benton                                                        Case number (if known)

7.     Electronics
       Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                  music collections; electronic devices including cell phones, cameras, media players, games
       ▪     No
             Yes. Describe     Electronics                                                                                       $1,500.00

8.     Collectibles of value
       Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                  stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
       El No
       o Yes. Describe

9.     Equipment for sports and hobbies
       Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
                 canoes and kayaks; carpentry tools; musical instruments
       El No
       o Yes. Describe
10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
       El No
       ▪ Yes. Describe

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
       ▪ No
       El Yes. Describe        Clothing                                                                                            $250.00

12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver
          No
       El Yes. Describe        Jewelry                                                                                             $500.00

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
       El No
       o Yes. Describe

14. Any other personal and household items you did not already list, including any health aids you
    did not list
       El No
       o Yes. Give specific
          information

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
    attached for Part 3. Write the number here                                                                                   $5,750.00


     Part 4:       Describe Your Financial Assets

                                                                                                                       Current value of the
Do you own or have any legal or equitable interest in any of the following?
                                                                                                                       portion you own?
                                                                                                                       Do not deduct secured
                                                                                                                       claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
              petition
           El No
           o Yes                                                                                       Cash:



Official Form 106A/B                                             Schedule AM: Property                                                 page 2
                Case 19-54537-jwc                Doc 1       Filed 03/22/19 Entered 03/22/19 12:14:45                              Desc
                                                            Petition Page 19 of 62

Debtor 1       David Emmanuel Benton                                                     Case number (if known)

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
              brokerage houses, and other similar institutions. If you have multiple accounts with the same
              institution, list each.

     El No
     IZI Yes                               Institution name:

           17.1.   Checking account:       Checking account with Navy Federal Credit Union                                                 $8.42

           17.2.   Checking account:       Checking account with Wells Fargo                                                             $330.99

           17.3.   Checking account:       Checking account with Citizen's Trust                                                        $1,800.00

           17.4.   Savings account:        Savings account with Navy Federal Credit Union                                                 $10.29

18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
     2  No
     El Yes                       Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture
        No
     El Yes. Give specific
        information about
        them                      Name of entity:                                                      % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
     10 No
     El Yes. Give specific
        information about
        them                      Issuer name:
21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
              profit-sharing plans
        No
     El Yes. List each
        account separately.     Type of account:        Institution name:
22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

     lEr No
     Ei  Yes                                         Institution name or individual:
23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
       No
    El Yes                       Issuer name and description:
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
     RI No
     El Yes                        Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
    powers exercisable for your benefit
     IZI No
     El Yes. Give specific
         information about them



Official Form 106A/B                                            Schedule A/B: Property                                                       page 3
              Case 19-54537-jwc                  Doc 1        Filed 03/22/19 Entered 03/22/19 12:14:45                                 Desc
                                                             Petition Page 20 of 62

Debtor 1     David Emmanuel Benton                                                          Case number (if known)

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
    Examples.' Internet domain names, websites, proceeds from royalties and licensing agreements
    El No
    El Yes. Give specific
       information about them

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
     El No
     El Yes. Give specific
        information about them

Money or property owed to you?                                                                                                  Current value of the
                                                                                                                                portion you own?
                                                                                                                                Do not deduct secured
                                                                                                                                claims or exemptions.

28. Tax refunds owed to you

     El No
     El Yes. Give specific information Federal: Anticipated Tax Refund. Amt: $1,700.00                               Federal:             $1,700.00
        about them, including whether
        you already filed the returns                                                                                State:                    $0.00
        and the tax years
                                                                                                                     Local:                    $0.00

29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
     El No
     El Yes. Give specific information                                                                    Alimony:

                                                                                                          Maintenance:

                                                                                                          Support:

                                                                                                          Divorce settlement:

                                                                                                          Property settlement:

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
              compensation, Social Security benefits; unpaid loans you made to someone else
     El No
     El Yes. Give specific information

31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (NSA); credit, homeowner's, or renter's insurance
     El No
     El Yes. Name the insurance
        company of each policy
        and list its value              Company name:                                    Beneficiary:                     Surrender or refund value:
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
    entitled to receive property because someone has died
     El No
     El Yes. Give specific information

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
     El No
     El Yes. Describe each claim




Official Form 106A/B                                            Schedule A/B: Property                                                           page 4
               Case 19-54537-jwc               Doc 1     Filed 03/22/19 Entered 03/22/19 12:14:45                          Desc
                                                        Petition Page 21 of 62

Debtor 1      David Emmanuel Benton                                                 Case number (if known)

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims
    ▪ No
    El Yes. Describe each claim

35. Any financial assets you did not already list

    ▪ No
    El Yes. Give specific information

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
    attached for Part 4. Write that number here                                                                  4             $3,849.70

 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

    Er No. Go to Part 6.
    El Yes. Go to line 38.

                                                                                                                     Current value of the
                                                                                                                     portion you own?
                                                                                                                     Do not deduct secured
                                                                                                                     claims or exemptions.
38. Accounts receivable or commissions you already earned

     ▪ No
     El Yes. Describe..

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
               desks, chairs, electronic devices
    0      No
           Yes. Describe..

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

     Ef No
     El Yes. Describe..

41. Inventory

     IZI No
     El Yes. Describe..

42. Interests in partnerships or joint ventures

     IZr No
     El Yes. Describe        Name of entity:                                                      % of ownership:

43. Customer lists, mailing lists, or other compilations

        No
     El Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                ONO
                El Yes. Describe

44. Any business-related property you did not already list

        No
     El Yes. Give specific information.

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
    attached for Part 5. Write that number here                                                                  4                  $0.00



Official Form 106A/B                                       Schedule A/B: Property                                                    page 5
              Case 19-54537-jwc               Doc 1     Filed 03/22/19 Entered 03/22/19 12:14:45                      Desc
                                                       Petition Page 22 of 62

Debtor 1    David Emmanuel Benton                                                     Case number (if known)


 Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

    10 No. Go to Part 7.
    El Yes. Go to line 47.

                                                                                                               Current value of the
                                                                                                               portion you own?
                                                                                                               Do not deduct secured
                                                                                                               claims or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish
    IZI No
    El Yes....

48. Crops--either growing or harvested

     ▪ No
     El Yes. Give specific
        information
49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

     El No
     ▪ Yes....

50. Farm and fishing supplies, chemicals, and feed

     10 No
     El Yes....

51. Any farm- and commercial fishing-related property you did not already list

     IZI No
     El Yes. Give specific
         information
52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
    attached for Part 6. Write that number here                                                                               $0.00


  Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

     RI No
     El Yes. Give specific information.

54. Add the dollar value of all of your entries from Part 7. Write that number here                                           $0.00




Official Form 106A/B                                      Schedule A/B: Property                                                page 6
              Case 19-54537-jwc                Doc 1        Filed 03/22/19 Entered 03/22/19 12:14:45                  Desc
                                                           Petition Page 23 of 62

Debtor 1     David Emmanuel Benton                                                   Case number (if known)


 Part 8: List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2                                                                                        $0.00

56. Part 2: Total vehicles, line 5                                                   $0.00

57. Part 3: Total personal and household items, line 15                        $5,750.00


58. Part 4: Total financial assets, line 36                                    $3,849.70

59. Part 5: Total business-related property, line 45                                 $0.00

60. Part 6: Total farm- and fishing-related property, line 52                        $0.00


61. Part 7: Total other property not listed, line 54                                 $0.00

                                                                                              Copy personal
62. Total personal property.     Add lines 56 through 61                       $9,599.70      property total —)   +     $9,599.70



63. Total of all property on Schedule A/B.     Add line 55 + line 62                                                    $9,599.70




Official Form 106A/B                                        Schedule A/B: Property                                            page 7
                 Case 19-54537-jwc                     Doc 1       Filed 03/22/19 Entered 03/22/19 12:14:45                                 Desc
                                                                  Petition Page 24 of 62
 Fill in this information to identify your case:

 Debtor 1          David                       Emmanuel                 Benton
                    First Name                 Middle Name              Last Name

 Debtor 2
 (Spouse, if filing) Fist Name                 Middle Name              Last Name


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number                                                                                                                            0   Check if this is an
  (If known)
                                                                                                                                            amended filing



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                          04116

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule NB: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Part 1:         Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      111 You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      El You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)



 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on         Current value of the   Amount of the exemption you claim        Specific laws that allow exemption i
       Schedule A/13 that lists this property                portion you own
                                                             Copy the value from    Check only one box for each exemption.
                                                             Schedule A/B

       Brief
       description:
                                 Household goods             $3,500.00              El!               co
                                                                                    El 10    of fair market value, up to
       Line from
       Schedule A/B:             6                                                     any applicable statutory limit


       Brief
       description:              Electronics                 $ 1,500.00                 $
                                                                                    Ij 100% of fair market value, up to
       Line from
                                                                                       any applicable statutory limit                 2/-13   -IOC
       Schedule A/B:

       Brief
       description:
                                 Clothing                    $250.00                    $ a_Sacc
       Line from
                                                                                    LI 100% of fair market value, up to
       Schedule A/B:             11                                                     any applicable statutory limit       ()c3k cic1 -13-ioD

  3. Are you claiming a homestead exemption of more than $160,375?
      (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

       2 / No
      El Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
            Ij     Yes



Official Form 106C                                           Schedule C: The Property You Claim as Exempt                                          page 1 of   2
              Case 19-54537-jwc                    Doc 1         Filed 03/22/19 Entered 03/22/19 12:14:45                                Desc
                                                                Petition Page 25 of 62
Debtor 1      David                           Emmanuel               Benton                     Case number (if known)
              First Name        Middle Name       Last Name




 Part 2:     Additional Page

      Brief description of the property and line          Current value of the   Amount of the exemption you claim       Specific laws that allow exemption
      on Schedule NB that lists this property             portion you own
                                                          Copy the value from    Check only one box for each exemption
                                                          Schedule A/B

     Brief
     description:
                           Jewelry                                    500.00              'xi).(k)
                                                                                 O 100% of fair market value, up to
     Line from             12
     Schedule A/B:                                                                 any applicable statutory limit                   Li   -3-ItDb
     Brief
     description:          Checking - Navy Cu                             8.42                   )-
                                                                                 O 100% of fair market value, up to
      Line from
      Schedule A/B:
                           17                                                      any applicable statutory limit        (0c.3aqq-13--too
      Brief                                                             10.29
                           Savings - Navy CU
      description:
                                                                                 O 100% of fair market value, up to
      Line from            17
      Schedule A/B:
                                                                                   any applicable statutory limit        Oc.410,qq--13-10T,
      Brief                Checking - Wells Far                        330.99
      description:
                           17                                                     O 100% of fair market value, up to
      Line from
      Schedule NB'
                                                                                    any applicable statutory limit            cAgc1-13-ioo
      Brief                Checking-Citizen's T                     1,800.00      ar t, 5:490.
      description:
      Line from
                                                                                  0 100% of fair market value, up to
      Schedule A/B:
                           17                                                        any applicable statutory limit      ccic,c14-13-10r,
      Brief
      description:
                           Tax Refund                               1,700.00       Erri100, tlz)
                                                                                  O 100% of fair market value, up to
      Line from
      Schedule A/B:
                           28                                                       any applicable statutory limit       ocic,,q -I 3.-loo
      Brief
      description:                                                                   $
                                                                                  O 100% of fair market value, up to
      Line from
      Schedule Ala•                                                                 any applicable statutory limit

      Brief
      description:                                                                   $
                                                                                  O 100% of fair market value, up to
      Line from
                                                                                    any applicable statutory limit
      Schedule A/B:

      Brief
      description:                                                                   $
                                                                                  O 100% of fair market value, up to
      Line from
      Schedule A/B:                                                                 any applicable statutory limit


      Brief
      description:                                                                   $
                                                                                  O 100% of fair market value, up to
      Line from
      Schedule A/B:                                                                 any applicable statutory limit

      Brief
      description:                                                                   $
                                                                                  O 100% of fair market value, up to
      Line from
                                                                                    any applicable statutory limit
      Schedule A/B:

      Brief
      description:                                                                    $
                                                                                  O 100% of fair market value, up to
      Line from
      Schedule A/B:                                                                 any applicable statutory limit



 Official Form 106C                                       Schedule C: The Property You Claim as Exempt                                     page .a.... of   2
                  Case 19-54537-jwc               Doc 1       Filed 03/22/19 Entered 03/22/19 12:14:45                             Desc
                                                             Petition Page 26 of 62
 Fill in this information to identify your case:
 Debtor 1            David                  Emmanuel              Benton
                     First Name             Middle Name           Last Name

 Debtor 2
 (Spouse, if filing) First Name             Middle Name           Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF GEORGIA

 Case number
                                                                                                               El Check if this is an
 (if known)
                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).


1.     Do any creditors have claims secured by your property?
       10 No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       El Yes. Fill in all of the information below.


 Part 1:          List All Secured Claims

2.     List all secured claims. If a creditor has more than one secured
       claim, list the creditor separately for each claim. If more than one
       creditor has a particular claim, list the other creditors in Part 2. As
       much as possible, list the claims in alphabetical order according to the
       creditor's name.

  2.1                                           Describe the property that
                                                secures the claim:

Creditor's name

Number      Street


                                                As of the date you file, the claim is: Check all that apply.
                                                o Contingent
                                                o Unliquidated
City                    State   ZIP Code
                                                o Disputed
Who owes the debt? Check one.                   Nature of lien. Check all that apply.
o Debtor 1 only
                                                o An agreement you made (such as mortgage or secured car loan)
o Debtor 2 only
                                                o Statutory lien (such as tax lien, mechanic's lien)
o Debtor 1 and Debtor 2 only
                                                o Judgment lien from a lawsuit
o At least one of the debtors and another
                                                o Other (including a right to offset)
El Check if this claim relates
   to a community debt
Date debt was incurred                          Last 4 digits of account number




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                                    $0.00

If this is the last page of your form, add the dollar value totals from
all pages. Write that number here:                                                                   $0.00


Official Form 106D                          Schedule D: Creditors Who Have Claims Secured by Property                                     page 1
                 Case 19-54537-jwc                  Doc 1       Filed 03/22/19 Entered 03/22/19 12:14:45                                 Desc
                                                               Petition Page 27 of 62
 Fill in this information to identify your case:
 Debtor 1              David                 Emmanuel              Benton
                       First Name            Middle Name            Last Name

 Debtor 2
 (Spouse, if filing) First Name              Middle Name            Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF GEORGIA

 Case number
                                                                                                                   o    Check if this is an
 (if known)
                                                                                                                        amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                  12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule NB: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).


 Part 1:         List All of Your PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims against you?
       El No. Go to Part 2.
          Yes.

2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
       claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
       show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
       more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
       claim, list the other creditors in Part 3.

       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.



     2.1


Priority Creditor's Name                                   Last 4 digits of account number
                                                           When was the debt incurred?
Number        Street
                                                           As of the date you file, the claim is: Check all that apply.
                                                           o Contingent
                                                           o Unliquidated
                                                           o Disputed
City                            State   ZIP Code
Who incurred the debt? Check one.                          Type of PRIORITY unsecured claim:
o Debtor 1 only                                            o Domestic support obligations
o Debtor 2 only                                            o Taxes and certain other debts you owe the government
o Debtor 1 and Debtor 2 only                               o Claims for death or personal injury while you were
o At least one of the debtors and another                     intoxicated
o Check if this claim is for a community debt              ▪ Other. Specify
Is the claim subject to offset?
▪ No
o Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1
                 Case 19-54537-jwc                  Doc 1         Filed 03/22/19 Entered 03/22/19 12:14:45                                  Desc
                                                                 Petition Page 28 of 62

Debtor 1       David Emmanuel Benton                                                            Case number (if known)

 Part 2:         List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?
       0 No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       IE1 Yes

4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
       Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.




     4.1
                                                                                                                                                    $601.00
AT&T                                                        Last 4 digits of account number
Nonpriority Creditor's Name
208 S. Akard St.
                                                            When was the debt incurred?            - /2017
                                                                                                  12/27
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                            o Contingent
                                                            o Unliquidated
                                                            El Disputed
Dallas                     TX      75202
City                       State   ZIP Code                 Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            o Student loans
Ei Debtor 1 only                                               Obligations arising out of a separation agreement or divorce
o Debtor 2 only
                                                               that you did not report as priority claims
o Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
o At least one of the debtors and another
o     Check if this claim is for a community debt
                                                            El Other. Specify
                                                               Cellular Service
Is the claim subject to offset?
IZI No
o Yes

     4.2                                                                                                                                          $1,230.00
Capital One                                                 Last 4 digits of account number
Nonpriority Creditor's Name
PO Box 30285
                                                            When was the debt incurred?            - /2018
                                                                                                  06/20
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                            o Contingent
                                                            o Unliquidated
                                                            o Disputed
Salt Lake City             UT      84130
City                       State   ZIP Code                 Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            o Student loans
IZI Debtor 1 only
                                                            o Obligations arising out of a separation agreement or divorce
o Debtor 2 only
                                                               that you did not report as priority claims
o Debtor 1 and Debtor 2 only                                o Debts to pension or profit-sharing plans, and other similar debts
o At least one of the debtors and another
                                                            ▪ Other. Specify
o     Check if this claim is for a community debt              Credit Card
Is the claim subject to offset?
IZI No
El Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 2
                Case 19-54537-jwc                  Doc 1      Filed 03/22/19 Entered 03/22/19 12:14:45                            Desc
                                                             Petition Page 29 of 62

Debtor 1       David Emmanuel Benton                                                       Case number (if known)

 Part 2:         Your NONPRIORITY Unsecured Claims -- Continuation Page

After listing any entries on this page, number them sequentially from the
previous page.

   4.3                                                                                                                               $2,707.00
Capital One                                              Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?         05/23
                                                                                              -    /2018
PO Box 30285
Number       Street                                      As of the date you file, the claim is: Check all that apply.
                                                         El Contingent
                                                         El Unliquidated
                                                         El Disputed
Salt Lake City                UT       84130
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?        Check one.                  El Student loans
IZI Debtor 1 only                                         El Obligations arising out of a separation agreement or divorce
El Debtor 2 only                                             that you did not report as priority claims
o Debtor 1 and Debtor 2 only                              El Debts to pension or profit-sharing plans, and other similar debts
o At least one of the debtors and another                    Other. Specify
O Check if this claim is for a community debt                 Credit Card
Is the claim subject to offset?
▪ No
El Yes

   4.4                                                                                                                                   $702.00
Chase                                                     Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?        03/21
                                                                                              -   /2016
PO Box 36520
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                          El Contingent
                                                          El Unliquidated
                                                          El Disputed
Louisville                    KY       40233
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?        Check one.
                                                          El Student loans
   Debtor 1 only                                          El Obligations arising out of a separation agreement or divorce
El Debtor 2 only                                              that you did not report as priority claims
o Debtor 1 and Debtor 2 only                              1:1 Debts to pension or profit-sharing plans, and other similar debts
El At least one of the debtors and another                    Other. Specify
O Check if this claim is for a community debt                 Credit Card
Is the claim subject to offset?
▪ No
El Yes

   4.5                                                                                                                                   $526.00
Covington Credit                                          Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?         5/17/
                                                                                               -   2016
150 Executive Center Dr.
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                          El Contingent
                                                          El Unliquidated
                                                          El Disputed
Greenville                     SC      29615
City                           State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?         Check one.                 1:1 Student loans
 IZI   Debtor 1 only                                      El Obligations arising out of a separation agreement or divorce
 El    Debtor 2 only                                          that you did not report as priority claims
 El    Debtor 1 and Debtor 2 only                         El Debts to pension or profit-sharing plans, and other similar debts
 El    At least one of the debtors and another                Other. Specify
 O Check if this claim is for a community debt                Loan
 Is the claim subject to offset?
 RI No
 El Yes


 Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                        page 3
                 Case 19-54537-jwc                  Doc 1     Filed 03/22/19 Entered 03/22/19 12:14:45                           Desc
                                                             Petition Page 30 of 62

Debtor 1       David Emmanuel Benton                                                       Case number (if known)

 Part 2:         Your NONPRIORITY Unsecured Claims -- Continuation Page

After listing any entries on this page, number them sequentially from the
previous page.

   4.6                                                                                                                                  $673.00
Credit One                                                Last 4 digits of account number
Nonpriority Creditor's Name
PO Box 60500
                                                          When was the debt incurred?          -
                                                                                             08/05/2016
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                          El Contingent
                                                          o Unliquidated
                                                          El Disputed
City of Industry               CA      91716
City                           State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?         Check one.
                                                          El Student loans
▪      Debtor 1 only
                                                          ID Obligations arising out of a separation agreement or divorce
El     Debtor 2 only
                                                             that you did not report as priority claims
El     Debtor 1 and Debtor 2 only
                                                          El Debts to pension or profit-sharing plans, and other similar debts
El     At least one of the debtors and another
                                                          RI Other. Specify
O Check if this claim is for a community debt                 Credit Card
Is the claim subject to offset?
Er No
El Yes

   4.7                                                                                                                              $1,280.00
Home Furnishings Credit                                   Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?        06/01/2014
PO Box 12812
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                          ID Contingent
                                                          o Unliquidated
                                                          El Disputed
Norfolk                        VA      23541
City                           State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?         Check one.
                                                          El Student loans
•      Debtor 1 only
                                                          El Obligations arising out of a separation agreement or divorce
El     Debtor 2 only
                                                             that you did not report as priority claims
El     Debtor 1 and Debtor 2 only
                                                          El Debts to pension or profit-sharing plans, and other similar debts
El     At least one of the debtors and another
                                                          El Other. Specify
O Check if this claim is for a community debt                 Credit Card
Is the claim subject to offset?
▪ No
El Yes

   4.8                                                                                                                              $6,545.00
ISPC                                                      Last 4 digits of account number
Nonpriority Creditor's Name
1115 Gunn Hwy
                                                          When was the debt incurred?          -
                                                                                              04/08/2016
Number        Street                                      As of the date you file, the claim is: Check all that apply.
Suite 100                                                 1:1 Contingent
                                                          El Unliquidated
                                                          El Disputed
Odessa                         FL      33556
City                           State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?         Check one.
                                                          El Student loans
   Debtor 1 only
                                                          El Obligations arising out of a separation agreement or divorce
El Debtor 2 only
                                                              that you did not report as priority claims
El Debtor 1 and Debtor 2 only
                                                          El Debts to pension or profit-sharing plans, and other similar debts
El At least one of the debtors and another
                                                          IZI Other. Specify
O Check if this claim is for a community debt                 Credit Card
Is the claim subject to offset?
RI No
El Yes


Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                       page 4
                 Case 19-54537-jwc                 Doc 1      Filed 03/22/19 Entered 03/22/19 12:14:45                           Desc
                                                             Petition Page 31 of 62

Debtor 1       David Emmanuel Benton                                                       Case number (if known)

 Part 2:         Your NONPRIORITY Unsecured Claims -- Continuation Page

After listing any entries on this page, number them sequentially from the
previous page.

   4.9
                                                                                                                                    $1,037.00
KohIs                                                     Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?        09/22/2013
P.O. Box 2983
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                          El Contingent
                                                          El Unliquidated
                                                          ID Disputed
Milwaukee                     WI       53201
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?        Check one.
                                                          El Student loans
p Debtor 1 only                                           El Obligations arising out of a separation agreement or divorce
El Debtor 2 only
                                                             that you did not report as priority claims
El Debtor 1 and Debtor 2 only
                                                          El Debts to pension or profit-sharing plans, and other similar debts
El At least one of the debtors and another
                                                          10 Other. Specify
O Check if this claim is for a community debt                 Credit Card
Is the claim subject to offset?
El No
El Yes

  4.10                                                                                                                              $1,306.00
Macy's                                                    Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?        10/23/2010
PO Box 8218
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                          El Contingent
                                                          El Unliquidated
                                                          ID Disputed
Mason                          OH      45040
City                           State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?         Check one.
                                                          El Student loans
IZI    Debtor 1 only
                                                          El Obligations arising out of a separation agreement or divorce
El     Debtor 2 only
                                                             that you did not report as priority claims
El     Debtor 1 and Debtor 2 only
                                                          El Debts to pension or profit-sharing plans, and other similar debts
El     At least one of the debtors and another
                                                          ▪ Other. Specify
O Check if this claim is for a community debt                 Credit Card
Is the claim subject to offset?
IA No
El Yes

  4.11
                                                                                                                                        $234.00
Newnan Utilities                                          Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?         12/28/2017
70 Sewell Rd
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                          El Contingent
                                                          El Unliquidated
                                                          El Disputed
Newnan                         GA      30263
City                           State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?         Check one.
                                                          El Student loans
   Debtor 1 only
                                                          El Obligations arising out of a separation agreement or divorce
El Debtor 2 only
                                                             that you did not report as priority claims
El Debtor 1 and Debtor 2 only
                                                          El Debts to pension or profit-sharing plans, and other similar debts
El At least one of the debtors and another
                                                          ▪ Other. Specify
O Check if this claim is for a community debt                 Utilities
Is the claim subject to offset?
   No
El Yes


Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                      page 5
                 Case 19-54537-jwc                Doc 1        Filed 03/22/19 Entered 03/22/19 12:14:45                           Desc
                                                              Petition Page 32 of 62

Debtor 1       David Emmanuel Benton                                                        Case number (if known)

 Part 2:         Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
previous page.

    4.12                                                                                                                             $9,826.00
State Farm Bank                                          Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?          04/08/2015
PO Box 853944
Number       Street                                      As   of the date you file, the claim is: Check all that apply.
                                                         o    Contingent
                                                         o    Unliquidated
                                                         o    Disputed
Richardson                    TX      75085
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                         o Student loans
IZI Debtor 1 only
                                                         o Obligations arising out of a separation agreement or divorce
o Debtor 2 only
                                                             that you did not report as priority claims
o Debtor 1 and Debtor 2 only
                                                         o Debts to pension or profit-sharing plans, and other similar debts
o At least one of the debtors and another
                                                         IZI Other. Specify
o      Check if this claim is for a community debt           Auto Deficiency
Is the claim subject to offset?
Er No
Ei   Yes

    4.13                                                                                                                                 $394.00
SW Credit Svcs.                                          Last 4 digits of account number
Nonpriority Creditor's Name
4120 International Pkwy
                                                         When was the debt incurred?            -
                                                                                              04/03/2017
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Ste 1100                                                 o Contingent
                                                         o Unliquidated
                                                         o Disputed
Carrollton                    TX      75007
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                         o Student loans
▪ Debtor 1 only
                                                         o Obligations arising out of a separation agreement or divorce
o Debtor 2 only
                                                             that you did not report as priority claims
o Debtor 1 and Debtor 2 only
                                                         o   Debts  to pension or profit-sharing plans, and other similar debts
o At least one of the debtors and another
                                                         IZI Other. Specify
o      Check if this claim is for a community debt           Collecting for Moni
Is the claim subject to offset?
IA No
o Yes

    4.14                                                                                                                                 $920.00
Synchrony Bank/Belk                                      Last 4 digits of account number
Nonpriority Creditor's Name
P.O. Box 105972
                                                         When was the debt incurred?            -
                                                                                               10/14/2007
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                         o Contingent
                                                         o Unliquidated
                                                         o Disputed
Atlanta                       GA      30342
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                         o Student loans
▪ Debtor 1 only
                                                         o Obligations arising out of a separation agreement or divorce
o Debtor 2 only
                                                            that you did not report as priority claims
o Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
o At least one of the debtors and another                   Other. Specify
o Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
▪ No
o Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 6
                 Case 19-54537-jwc                 Doc 1      Filed 03/22/19 Entered 03/22/19 12:14:45                           Desc
                                                             Petition Page 33 of 62

Debtor 1       David Emmanuel Benton                                                       Case number (if known)

 Part 2:         Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
previous page.

  4.15                                                                                                                              $3,202.00
Synchrony Bank/Care Credit                                Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?        01/05
                                                                                              -    /2015
P.O. Box 105972
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                          El Contingent
                                                          El Unliquidated
                                                          El Disputed
Atlanta                        GA      30342
City                           State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?         Check one.
                                                          El Student loans
Er     Debtor 1 only
                                                          El Obligations arising out of a separation agreement or divorce
El     Debtor 2 only
                                                             that you did not report as priority claims
El     Debtor 1 and Debtor 2 only
                                                          El Debts to pension or profit-sharing plans, and other similar debts
El     At least one of the debtors and another
                                                          El Other. Specify
O Check if this claim is for a community debt                 Credit Card
Is the claim subject to offset?
El No
El Yes

  4.16                                                                                                                                  $971.00
Synchrony Bank/Lowes                                      Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?        09/03
                                                                                              -    /2013
P.O. Box 105972
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                          El Contingent
                                                          o Unliquidated
                                                          ID Disputed
Atlanta                        GA      30342
City                           State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?         Check one.
                                                          El Student loans
El     Debtor 1 only
                                                          El Obligations arising out of a separation agreement or divorce
El     Debtor 2 only
                                                             that you did not report as priority claims
El     Debtor 1 and Debtor 2 only
                                                          El Debts to pension or profit-sharing plans, and other similar debts
El     At least one of the debtors and another
                                                          El Other. Specify
O Check if this claim is for a community debt                 Credit Card
Is the claim subject to offset?
El No
El Yes

  4.17                                                                                                                                  $590.00
Synchrony Bank/Paypal                                     Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?         08/01
                                                                                               -   /2016
P.O. Box 105972
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                          El Contingent
                                                          o Unliquidated
                                                          El Disputed
Atlanta                        GA      30342
City                           State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?         Check one.
                                                          El Student loans
El Debtor 1 only
                                                          El Obligations arising out of a separation agreement or divorce
El Debtor 2 only
                                                             that you did not report as priority claims
O Debtor 1 and Debtor 2 only                              El Debts to pension or profit-sharing plans, and other similar debts
El At least one of the debtors and another
                                                          El Other. Specify
O Check if this claim is for a community debt                 Credit Card
Is the claim subject to offset?
   No
El Yes


Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                      page 7
                 Case 19-54537-jwc                  Doc 1      Filed 03/22/19 Entered 03/22/19 12:14:45                           Desc
                                                              Petition Page 34 of 62

Debtor 1       David Emmanuel Benton                                                       Case number (if known)

 Part 2:         Your NONPRIORITY Unsecured Claims -- Continuation Page

After listing any entries on this page, number them sequentially from the
previous page.

  4.18                                                                                                                               $4,895.00
Synchrony Bank/Sam's Club                                 Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?        09/24/2013
P.O. Box 105972
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                          El Contingent
                                                          o  Unliquidated
                                                          El Disputed
Atlanta                        GA      30342
City                           State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?         Check one.
                                                          El Student loans
10     Debtor 1 only
                                                          El Obligations arising out of a separation agreement or divorce
El     Debtor 2 only
                                                              that you did not report as priority claims
El     Debtor 1 and Debtor 2 only
                                                          1:1 Debts to pension or profit-sharing plans, and other similar debts
El     At least one of the debtors and another
                                                          IZI Other. Specify
El Check if this claim is for a community debt                Credit Card
Is the claim subject to offset?
El No
El Yes

  4.19                                                                                                                               $2,692.00
Synchrony Bank/Walmart                                    Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?        12/16/2013
P.O. Box 105972
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                          El Contingent
                                                          El Unliquidated
                                                          El Disputed
Atlanta                        GA      30342
City                           State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?         Check one.
                                                          El Student loans
RI     Debtor 1 only
                                                          El Obligations arising out of a separation agreement or divorce
El     Debtor 2 only
                                                              that you did not report as priority claims
El     Debtor 1 and Debtor 2 only
                                                          El Debts to pension or profit-sharing plans, and other similar debts
El     At least one of the debtors and another
                                                          IZ1 Other. Specify
12 Check if this claim is for a community debt                Credit Card
Is the claim subject to offset?
   No
El Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                      page 8
                Case 19-54537-jwc                  Doc 1     Filed 03/22/19 Entered 03/22/19 12:14:45                                Desc
                                                            Petition Page 35 of 62

Debtor 1       David Emmanuel Benton                                                        Case number (if known)

 Part 3:        List Others to Be Notified About a Debt That You Already Listed

5.     Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2.
       For example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original
       creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have more than one creditor for any of the
       debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional parties to be notified for
       any debts in Parts 1 or 2, do not fill out or submit this page.


Aldridge Pite                                               On which entry in Part 1 or Part 2 did you list the original creditor?
Name
15 Piedmont Center                                          Line   4.19 of (Check one):      El Part 1: Creditors with Priority Unsecured Claims
Number       Street
3575 Piedmont Rd.                                                                            ▪    Part 2: Creditors with Nonpriority Unsecured Claims

Suite 500
                                                            Last 4 digits of account number
Atlanta                         GA      30305
City                            State   ZIP Code


Cavalry Portfolio Services                                  On which entry in Part 1 or Part 2 did you list the original creditor?
Name
500 Summit Lake Dr,                                         Line   4.19 of (Check one):      0    Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                             ▪    Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Valhalla                        NY      10595
City                            State   ZIP Code


Cooling & Winter, LLC                                       On which entry in Part 1 or Part 2 did you list the original creditor?
Name
1355 Roswell Rd.                                            Line   4.15 of (Check one):      0    Part 1: Creditors with Priority Unsecured Claims
Number       Street
Suite 240                                                                                    ▪    Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Marietta                        GA      30062
City                            State   ZIP Code


Enhanced Recovery                                           On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 57547                                                Line    4.1   of (Check one):    0    Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                             ▪    Part 2: Creditors with Nonpriority Unsecured Claims


                                                            Last 4 digits of account number
Jacksonville                    FL      32241
City                            State   ZIP Code


Midland Funding                                             On which entry in Part 1 or Part 2 did you list the original creditor?
Name
2365 Northside Drive                                        Line    4.14 of (Check one):      0   Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
Suite 300

                                                            Last 4 digits of account number
San Diego                       CA      92108
City                            State   ZIP Code




Official Form 106E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                               page 9
               Case 19-54537-jwc             Doc 1    Filed 03/22/19 Entered 03/22/19 12:14:45                                Desc
                                                     Petition Page 36 of 62

Debtor 1      David Emmanuel Benton                                                 Case number (if known)

 Part 3:       List Others to Be Notified About a Debt That You Already Listed -- Continuation Page


Midland Funding                                      On which entry in Part 1 or Part 2 did you list the original creditor?
Name
2365 Northside Drive                                 Line   4.6   of (Check one):          Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                     IEI Part 2: Creditors with Nonpriority Unsecured Claims
Suite 300

                                                     Last 4 digits of account number
San Diego                 CA      92108
City                      State   ZIP Code


Online Information Services                          On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 1489                                          Line   4.11 of (Check one):     El Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                     10 Part 2: Creditors with Nonpriority Unsecured Claims


                                                     Last 4 digits of account number
Winterville               NC      28590
City                      State   ZIP Code


Portfolio Recovery                                   On which entry in Part 1 or Part 2 did you list the original creditor?
Name
120 Corporate Blvd.                                  Line   4.19 of (Check one):           Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims


                                                     Last 4 digits of account number
Norfolk                   VA      23502
City                      State   ZIP Code


Portfolio Recovery                                   On which entry in Part 1 or Part 2 did you list the original creditor?
Name
120 Corporate Blvd.                                  Line   4.17 of (Check one):      Ei   Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                      El Part 2: Creditors with Nonpriority Unsecured Claims


                                                     Last 4 digits of account number
Norfolk                   VA      23502
City                      State   ZIP Code


Portfolio Recovery                                   On which entry in Part 1 or Part 2 did you list the original creditor?
Name
120 Corporate Blvd.                                  Line   4.16 of (Check one):           Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                      10 Part 2: Creditors with Nonpriority Unsecured Claims


                                                     Last 4 digits of account number
Norfolk                   VA      23502
City                      State   ZIP Code


Portfolio Recovery                                   On which entry in Part 1 or Part 2 did you list the original creditor?
Name
120 Corporate Blvd.                                  Line   4.15 of (Check one):           Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                      IZI Part 2: Creditors with Nonpriority Unsecured Claims


                                                     Last 4 digits of account number
Norfolk                   VA      23502
City                      State   ZIP Code




Official Form 106E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                             page 10
              Case 19-54537-jwc             Doc 1    Filed 03/22/19 Entered 03/22/19 12:14:45                               Desc
                                                    Petition Page 37 of 62

Debtor 1    David Emmanuel Benton                                                   Case number (if known)

 Part 3:      List Others to Be Notified About a Debt That You Already Listed -- Continuation Page


Portfolio Recovery                                  On which entry in Part 1 or Part 2 did you list the original creditor?
Name
120 Corporate Blvd.                                 Line    4.3   of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number     Street
                                                                                     El Part 2: Creditors with Nonpriority Unsecured Claims


                                                    Last 4 digits of account number
Norfolk                  VA      23502
City                     State   ZIP Code


Portfolio Recovery                                  On which entry in Part 1 or Part 2 did you list the original creditor?
Name
120 Corporate Blvd.                                 Line    4.2   of (Check one):    1:1 Part 1: Creditors with Priority Unsecured Claims
Number     Street
                                                                                      El Part 2: Creditors with Nonpriority Unsecured Claims


                                                    Last 4 digits of account number
Norfolk                  VA      23502
City                     State   ZIP Code




 Official Form 106E/F                    Schedule E/F: Creditors Who Have Unsecured Claims                                            page 11
               Case 19-54537-jwc                 Doc 1       Filed 03/22/19 Entered 03/22/19 12:14:45                            Desc
                                                            Petition Page 38 of 62

Debtor 1       David Emmanuel Benton                                                  Case number (if known)

 Part 4:        Add the Amounts for Each Type of Unsecured Claim


6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.



                                                                                                           Total claim

Total claims      6a. Domestic support obligations                                                 6a.                   $0.00
from Part 1
                  6b. Taxes and certain other debts you owe the government                         6h.                   $0.00

                  6c. Claims for death or personal injury while you were intoxicated               6c.                   $0.00

                  6d. Other. Add all other priority unsecured claims. Write that amount here.      6d. +                 $0.00


                  6e. Total.     Add lines 6a through 6d.                                          6d.                   $0.00




                                                                                                           Total claim

Total claims      6f. Student loans                                                                6f.                   $0.00
from Part 2
                  6g. Obligations arising out of a separation agreement or divorce                 6g.                   $0.00
                      that you did not report as priority claims

                  6h. Debts to pension or profit-sharing plans, and other similar                  6h.                   $0.00
                      debts

                  6i. Other. Add all other nonpriority unsecured claims. Write that amount here.   61. +         $40,331.00


                  6j.   Total.   Add lines 6f through 6i.                                          6j.           $40,331.00




Official Form 106E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                         page 12
                 Case 19-54537-jwc               Doc 1         Filed 03/22/19 Entered 03/22/19 12:14:45                              Desc
                                                              Petition Page 39 of 62
 Fill in this information to identify your case:
 Debtor 1             David                 Emmanuel              Benton
                      First Name            Middle Name           Last Name

 Debtor 2
 (Spouse, if filing) First Name             Middle Name           Last Name

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF GEORGIA

 Case number
 (if known)
                                                                                                                 o   Check if this is an
                                                                                                                     amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


1.     Do you have any executory contracts or unexpired leases?
       El No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
       RI Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
       is for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
       executory contracts and unexpired leases.

          Person or company with whom you have the contract or lease                   State what the contract or lease is for

 2.1      TVE Homes, LLC                                                               Residential Lease Agreement
          Name
                                                                                       Contract to be ASSUMED
          4107 Oxford Crossing Dr.
          Number    Street



          Decatur                                     GA         30034
          City                                        State      ZIP Code




Official Form 106G                            Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
                Case 19-54537-jwc             Doc 1        Filed 03/22/19 Entered 03/22/19 12:14:45                                   Desc
                                                          Petition Page 40 of 62
 Fill in this information to identify your case:
 Debtor 1            David              Emmanuel               Benton
                     First Name         Middle Name             Last Name

 Debtor 2
 (Spouse, if filing) First Name         Middle Name             Last Name

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF GEORGIA

 Case number
 (if known)                                                                                                       o   Check if this is an
                                                                                                                      amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                   12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If
two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this
page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.


1.   Do you have any codebtors?      (If you are filing a joint case, do not list either spouse as a codebtor.)
     IZI No
         Yes

2.   Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories
     include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
     El No. Go to line 3.
     o Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
        El No
        El Yes
3.   In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
     person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the
     creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use
     Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

           Column 1: Your codebtor                                                          Column 2: The creditor to whom you owe the debt

                                                                                            Check all schedules that apply:




Official Form 106H                                        Schedule H: Your Codebtors                                                         page 1
                 Case 19-54537-jwc               Doc 1         Filed 03/22/19 Entered 03/22/19 12:14:45                                Desc
                                                              Petition Page 41 of 62
 Fill in this information to identify your case:
     Debtor 1              David                Emmanuel                Benton
                           First Name           Middle Name             Last Name                       Check if this is:
     Debtor 2                                                                                                An amended filing
     (Spouse, if filing)   First Name           Middle Name             Last Name                       0
                                                                                                        El A supplement showing postpetition
     United States Bankruptcy Court for the:   NORTHERN DISTRICT OF GEORGIA
                                                                                                             chapter 13 income as of the following date:
     Case number
     (if known)
                                                                                                             MM/DD/WW
Official Form 1061
Schedule I: Your Income                                                                                                                            12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment

1.     Fill in your employment
       information.                                            Debtor 1                                        Debtor 2 or non-filing spouse
       If you have more than one
       job, attach a separate page      Employment status              Employed                                o      Employed
       with information about                                   0      Not employed                            o      Not employed
       additional employers.
                                        Occupation              Bus Driver
       Include part-time, seasonal,
       or self-employed work.           Employer's name         DeKalb County School District

       Occupation may include           Employer's address      1701 Mountain Industrial Blvd.
       student or homemaker, if it                              Number Street                                  Number Street
       applies.
                                                                Stone Mountain Ga, 30083




                                                                City                     State    Zip Code     City                    State   Zip Code

                                        How long employed there?          3 months

 Part 2:          Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                         For Debtor 1              For Debtor 2 or
                                                                                                                   non-filing spouse

2.     List monthly gross wages, salary, and commissions (before all             2.              $1,290.66
       payroll deductions). If not paid monthly, calculate what the monthly wage
       would be.
3.     Estimate and list monthly overtime pay.                                      3 +              $0.00

4.     Calculate gross income. Add line 2 + line 3.                                 4.           $1,290.66




Official Form 1061                                             Schedule I: Your Income                                                             page 1
                Case 19-54537-jwc               Doc 1       Filed 03/22/19 Entered 03/22/19 12:14:45                                 Desc
                                                           Petition Page 42 of 62

Debtor 1        David Emmanuel Benton                                                           Case number (if known)
                                                                                        For Debtor 1         For Debtor 2 or
                                                                                                             non-filing spouse
     Copy line 4 here                                                        4 4.           $1,290.66
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                            5a.         $102.56
     5b. Mandatory contributions for retirement plans                             5b.           $0.00
     5c. Voluntary contributions for retirement plans                             5c.           $0.00
     5d. Required repayments of retirement fund loans                             5d.           $0.00
     5e. Insurance                                                                5e.           $0.00
     5f. Domestic support obligations                                             5f.           $0.00
     5g. Union dues                                                               5g.           $0.00
     5h. Other deductions.
          Specify:                                                                5h.+           $0.00
6.   Add the payroll deductions.     Add lines 5a + 5b + 5c + 5d + 5e + 5f +      6.          $102.56
     5g + 5h.
7.   Calculate total monthly take-home pay.        Subtract line 6 from line 4.   7.        $1,188.10
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                     8a.            $0.00
          business, profession, or farm
           Attach a statement for each property and business showing
           gross receipts, ordinary and necessary business expenses, and
           the total monthly net income.
     8b. Interest and dividends                                                   8b.            $0.00
     8c. Family support payments that you, a non-filing spouse, or a              8c.            $0.00
         dependent regularly receive
           Include alimony, spousal support, child support, maintenance,
           divorce settlement, and property settlement.
     8d. Unemployment compensation                                                8d.            $0.00
     8e. Social Security                                                          8e.            $0.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                 8f.            $0.00
     8g. Pension or retirement income                                             8g.            $0.00
     8h. Other monthly income.
         Specify: Clergy Income                                                   8h..1.    $3,200.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.       9.        $3,200.00


10. Calculate monthly income. Add line 7 + line 9.                                10.       $4,388.10    +                       =       $4,388.10
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedu e J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                             11.    +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly            12.             $4,388.10
    income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,
    if it applies.                                                                                                                   Combined
                                                                                                                                     monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.           None.
     0     Yes. Explain:




Official Form 1061                                           Schedule I: Your Income                                                          page 2
                 Case 19-54537-jwc               Doc 1          Filed 03/22/19 Entered 03/22/19 12:14:45                       Desc
                                                               Petition Page 43 of 62
 Fill in this information to identify your case:
                                                                                                  Check if this is:
     Debtor 1              David                 Emmanuel              Benton                     o An amended filing
                           First Name           Middle Name            Last Name                  o A supplement showing postpetition
     Debtor 2                                                                                         chapter 13 expenses as of the
     (Spouse, if filing)   First Name            Middle Name           Last Name                      following date:

     United States Bankruptcy Court for the:   NORTHERN DISTRICT OF GEORGIA                            MM / DD / YYYY
     Case number
     (if known)

Official Form 106J
Schedule J: Your Expenses                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household

1.     Is this a joint case?

            No. Go to line 2.
       0    Yes. Does Debtor 2 live in a separate household?
                El No
                 o Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.     Do you have dependents?          El No
                                           Yes. Fill out this information      Dependent's relationship to    Dependent's      Does dependent
       Do not list Debtor 1 and                                                Debtor 1 or Debtor 2           age              live with you?
                                           for each dependent
       Debtor 2.
                                                                                                                                   No
                                                                               Girlfriend                     35
                                                                                                                                   Yes
       Do not state the dependents'
       names.                                                                                                                      No
                                                                               Daughter                       7
                                                                                                                                   Yes
                                                                                                                                   No
                                                                               Son                            8
                                                                                                                                   Yes
                                                                                                                                   No
                                                                                                                                   Yes
                                                                                                                                   No
                                                                                                                                   Yes
3.     Do your expenses include                     No
       expenses of people other than           0    Yes
       yourself and your dependents?


 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 1061.)                              Your expenses

4.     The rental or home ownership expenses for your residence.                                             4.                     $900.00
       Include first mortgage payments and any rent for the ground or lot.
       If not included in line 4:

       4a. Real estate taxes                                                                                 4a.

       4b. Property, homeowner's, or renter's insurance                                                      4b.                      $35.00

       4c. Home maintenance, repair, and upkeep expenses                                                     4c.

       4d. Homeowner's association or condominium dues                                                       4d.




 Official Form 106J                                            Schedule J: Your Expenses                                                 page 1
                    Case 19-54537-jwc             Doc 1       Filed 03/22/19 Entered 03/22/19 12:14:45                   Desc
                                                             Petition Page 44 of 62

Debtor 1        David Emmanuel Benton                                                    Case number (if known)

                                                                                                             Your expenses

5.     Additional mortgage payments for your residence, such as home equity loans                     5.

6.     Utilities:

       6a. Electricity, heat, natural gas                                                             6a.                     $350.00
       6b. Water, sewer, garbage collection                                                           6b.                     $150.00
       6c. Telephone, cell phone, Internet, satellite, and                                            6c.                     $350.00
           cable services
       6d. Other. Specify:                                                                            6d.

7.      Food and housekeeping supplies                                                                7.                     $1,100.00
8.      Childcare and children's education costs                                                       8.

9.      Clothing, laundry, and dry cleaning                                                           9.                      $200.00
10. Personal care products and services                                                               10.                     $150.00
11. Medical and dental expenses                                                                       11.                     $100.00
12. Transportation. Include gas, maintenance, bus or train                                             12.                    $400.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                      13.                    $100.00
    magazines, and books
14. Charitable contributions and religious donations                                                   14.

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

        15a. Life insurance                                                                            15a.                     $33.00
        15b.   Health insurance                                                                        15b.

        15c. Vehicle insurance                                                                         15c.

        15d. Other insurance. Specify:                                                                 15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                           16.

17. Installment or lease payments:

        17a. Car payments for Vehicle 1                                                                17a.

        17b. Car payments for Vehicle 2                                                                17b.

        17c. Other. Specify:                                                                           17c.

        17d.   Other. Specify:                                                                         17d.

18. Your payments of alimony, maintenance, and support that you did not report as                      18.                    $500.00
    deducted from your pay on line 5, Schedule!, Your Income (Official Form 1061).
        Alimony
19. Other payments you make to support others who do not live with you.
    Specify:                                                                                           19.




     Official Form 106J                                      Schedule J: Your Expenses                                            page 2
               Case 19-54537-jwc              Doc 1       Filed 03/22/19 Entered 03/22/19 12:14:45                    Desc
                                                         Petition Page 45 of 62

Debtor 1     David Emmanuel Benton                                                           Case number (if known)

20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
    20a. Mortgages on other property                                                                        20a.

    20b. Real estate taxes                                                                                  20b.

    20c. Property, homeowner's, or renter's insurance                                                       20c.

    20d. Maintenance, repair, and upkeep expenses                                                           20d.

    20e.    Homeowner's association or condominium dues                                                      20e.

21. Other. Specify:                                                                                          21.

22. Calculate your monthly expenses.

    22a. Add lines 4 through 21.                                                                             22a.       $4,368.00

    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                    22b.

    22c. Add line 22a and 22b. The result is your monthly expenses.                                          22c.       $4,368.00


23. Calculate your monthly net income.

    23a. Copy line 12 (your combined monthly income) from Schedule I.                                        23a.       $4,388.10

    23b.    Copy your monthly expenses from line 22c above.                                                  23b. _     $4,368.00

    23c. Subtract your monthly expenses from your monthly income.
         The result is your monthly net income.                                                              23c.         $20.10

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
     0     Yes. Explain here:
                None.




  Official Form 106J                                      Schedule J: Your Expenses                                          page 3
                 Case 19-54537-jwc               Doc 1       Filed 03/22/19 Entered 03/22/19 12:14:45                        Desc
                                                            Petition Page 46 of 62
    Fill in this information to identify your case:
    Debtor 1           David               Emmanuel                Benton
                       First Name          Middle Name             Last Name

    Debtor 2
    (Spouse, if filing) First Name         Middle Name             Last Name

    United States Bankruptcy Court for the: NORTHERN DISTRICT OF GEORGIA

    Case number
                                                                                                                      El Check if this is an
    (if known)
                                                                                                                         amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                          12/15


If you are an individual filing under chapter 7, you must fill out this form if:

•    creditors have claims secured by your property, or

•    you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting
of creditors, whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors
and lessors you list on the form.

If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known).


    Part 1:       List Your Creditors Who Hold Secured Claims

1.     For any creditors that you listed in Part 1 of Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 106D),
       fill in the information below.

       Identify the creditor and the property that is collateral         What do you intend to do with the     Did you claim the property
                                                                         property that secures a debt?         as exempt on Schedule C?

       None.



    Part 2:       List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not
yet ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

       Describe your unexpired personal property leases                                                       Will this lease be assumed?

       Lessor's name:        TVE Homes, LLC                                                                   ONO
       Description of leased Residential Lease Agreement                                                      ▪ Yes
       property:




Official Form 108                          Statement of Intention for Individuals Filing Under Chapter 7                               page 1
              Case 19-54537-jwc               Doc 1        Filed 03/22/19 Entered 03/22/19 12:14:45                        Desc
                                                          Petition Page 47 of 62

Debtor 1     David Emmanuel Benton                                                  Case number (if known)

 Part 3:       Sign Below

    Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and
    personal pro erty that is sub'ect to an unexpired lease.

X                                                     X
     avid Emmanuel Benton, Debtor 1                       Signature of Debtor 2

    Date 03/18/2019                                       Date
         MM / DD / YYYY                                          MM / DD / YYYY




Official Form 108                       Statement of Intention for Individuals Filing Under Chapter 7                                page 2
               Case 19-54537-jwc                Doc 1       Filed 03/22/19 Entered 03/22/19 12:14:45                               Desc
                                                           Petition Page 48 of 62
 Fill in this information to identify your case:
 Debtor 1            David                 Emmanuel              Benton
                     First Name           Middle Name            Last Name

 Debtor 2
 (Spouse, if filing) First Name            Middle Name           Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF GEORGIA

 Case number                                                                                                  o    Check if this is an
 (if known)
                                                                                                                   amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.



 Part 1:        Summarize Your Assets

                                                                                                                            Your assets
                                                                                                                            Value of what you own
1.     Schedule A/B: Property (Official Form 106A/B)

       la. Copy line 55, Total real estate, from Schedule A/B                                                                                $0.00



       lb. Copy line 62, Total personal property, from Schedule A/B                                                                      $9,599.70



       lc. Copy line 63, Total of all property on Schedule A/B                                                                           $9,599.70


 Part 2:        Summarize Your Liabilities

                                                                                                                              Your liabilities
                                                                                                                              Amount you owe

2.     Schedule D. Creditors Who Have Claims Secured by Property (Official Form 106D)
       2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D                    $0.00

3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
       3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F                                        $0.00


                                                                                                                                         $40,331.00
       3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F



                                                                                                  Your total liabilities                 $40,331.00




     Part 3:     Summarize Your Income and Expenses

4.     Schedule I: Your Income (Official Form 1061)
                                                                                                                                          $4,388.10
       Copy your combined monthly income from line 12 of Schedule I

5.     Schedule J: Your Expenses (Official Form 106J)
                                                                                                                                          $4,368.00
       Copy your monthly expenses from line 22c of Schedule J




Official Form 106Sum                Summary of Your Assets and Liabilities and Certain Statistical Information                                 page 1
              Case 19-54537-jwc                Doc 1       Filed 03/22/19 Entered 03/22/19 12:14:45                            Desc
                                                          Petition Page 49 of 62

Debtor 1      David Emmanuel Benton                                                        Case number (if known)


 Part 4:       Answer These Questions for Administrative and Statistical Records


6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?

     0  No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
     El Yes


7.   What kind of debt do you have?

           Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
           family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
     El Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
        this form to the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from
     Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                  $3,995.87


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                       Total claim

     From Part 4 on Schedule E/F, copy the following:

     9a. Domestic support obligations. (Copy line 6a.)                                                               $0.00


     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                       $0.00


     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                             $0.00


     9d. Student loans. (Copy line 6f.)                                                                              $0.00


     9e. Obligations arising out of a separation agreement or divorce that you did not report as                     $0.00
         priority claims. (Copy line 6g.)

     9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                          $0.00


     9g. Total.    Add lines 9a through 9f.                                                                          $0.00




Official Form 106Sum              Summary of Your Assets and Liabilities and Certain Statistical Information                               page 2
                 Case 19-54537-jwc          Doc 1       Filed 03/22/19 Entered 03/22/19 12:14:45                             Desc
                                                       Petition Page 50 of 62
 Fill in this information to identify your case:
 Debtor 1           David              Emmanuel             Benton
                    First Name         Middle Name          Last Name

 Debtor 2
 (Spouse, if filing) First Name        Middle Name          Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF GEORGIA

 Case number
 (if known)                                                                                             o    Check if this is an
                                                                                                             amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                     12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                 Sign Below

     Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

            No

     10 Yes. Name of person       Charles M. Langevin, Jr.                                   Attach Bankruptcy Petition Preparer's Notice,
                                                                                             Declaration, and Signature (Official Form 119).




     Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are
     true and correct.


                                                           X
        Di       Emmanuel Benton, De or 1                      Signature of Debtor 2

         Date 03/18/2019                                       Date
              MM / DD / YYYY                                          MM / DD / YYYY




Official Form 106Dec                        Declaration About an Individual Debtor's Schedules                                          page 1
             Case 19-54537-jwc               Doc 1          Filed 03/22/19 Entered 03/22/19 12:14:45                       Desc
                                                           Petition Page 51 of 62
B2800 (Form 2800) (12/15)

                                            UNITED STATES BANKRUPTCY COURT
                                             NORTHERN DISTRICT OF GEORGIA
                                                    ATLANTA DIVISION

In re David Emmanuel Benton                                            Case No.
                                                                       Chapter      7
               Debtor


           DISCLOSURE OF COMPENSATION OF BANKRUPTCY PETITION PREPARER
            [Must be filed with the petition if a bankruptcy petition preparer prepares the petition. 11 U.S. C. § 110(h)(2).]

1. Under 11 U.S.C. § 110(h), I declare under penalty of perjury that I am not an attorney or employee of an attorney, that I
   prepared or caused to be prepared one or more documents for filing by the above-named debtor(s) in connection with this
   bankruptcy case, and that compensation paid to me within one year before the filing of the bankruptcy petition, or agreed to be
   paid to me, for services rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is
   as follows:
   For document preparation services, I have agreed to accept                            $300.00
   Prior to the filing of this statement I have received                                 $300.00
   Balance Due                                                                              $0.00

2. I have prepared or caused to be prepared the following documents (itemize):
   See Attached List on Official Form 119
   and provided the following services (itemize):
   Petition Preparation ONLY
3. The source of the compensation paid to me was:
           Er Debtor                    o    Other (specify)

4. The source of compensation to be paid to me is:
           Er Debtor                    o    Other (specify)

5. The foregoing is a complete statement of any agreement or arrangement for payment to me for preparation of the petition
   filed by the debtor(s) in this bankruptcy case.

6. To my knowledge no other person has prepared for compensation a document for filing in connection with this bankruptcy
   case ex ,pt as listed below:

   NA                                                                                   SOCIAL SECURITY NUMBER



                                                                               XXX-XX-XXXX                                03/18/2019
                  Signature                                         Social Security number of bankruptcy                     Date
                                                                    petition preparer*

   Charles M. Langevin, Jr.                                         201 17th Street NW
   Printed name and title, if any, of                               Suite 300
   Bankruptcy Petition Preparer                                     Atlanta, GA 30363
                                                                    Address
* If the bankruptcy petition preparer is not an individual, state the Social Security number of the officer, principal, responsible
person or partner of the bankruptcy petition preparer. (Required by 11 U.S.C. § 110).

A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure
may result in fines or imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.
               Case 19-54537-jwc                 Doc 1        Filed 03/22/19 Entered 03/22/19 12:14:45                               Desc
                                                             Petition Page 52 of 62
 Fill in this information to identify the case:
 Debtor 1            David                  Emmanuel                Benton
                     First Name             Middle Name             Last Name

 Debtor 2
 (Spouse, if filing) First Name             Middle Name             Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF GEORGIA

 Case number                                              Chapter        7
 (if known)


Official Form 119
Bankruptcy Petition Preparer's Notice, Declaration, and Signature                                                                           12/15

Bankruptcy petition preparers as defined in 11 U.S.C. § 110 must fill out this form every time they help prepare documents that
are filed in the case. If more than one bankruptcy petition preparer helps with the documents, each must sign in Part 2. A
bankruptcy petition preparer who does not comply with the provisions of title 11 of the United States Code and the Federal
Rules of Bankruptcy Procedure may be fined, imprisoned, or both. 11 U.S.C. § 110; 18 U.S.C. § 156.



 Part 1:         Notice to Debtor

Bankruptcy petition preparers must give the debtor a copy of this form and have the debtor sign it before they prepare any
documents for filing or accept any compensation. A signed copy of this form must be filed with any document prepared.


       Bankruptcy petition preparers are not attorneys and may not practice law or give you legal advice, including the following:

       •    whether to file a petition under the Bankruptcy Code (11 U.S.C. § 101 et seq.);

       •    whether filing a case under chapter 7, 11, 12, or 13 is appropriate;

       •    whether your debts will be eliminated or discharged in a case under the Bankruptcy Code;

       •    whether you will be able to keep your home, car, or other property after filing a case under the Bankruptcy Code;

       •    what tax consequences may arise because a case is filed under the Bankruptcy Code;

       •    whether any tax claims may be discharged;

       •    whether you may or should promise to repay debts to a creditor or enter into a reaffirmation agreement;

       •    how to characterize the nature of your interests in property or your debts; or

       •    what procedures and rights apply in a bankruptcy case.


       The bankruptcy petition preparer                             Charles M. Lancievin, Jr.                         has notified me of
                                            Name
       any maximum allowable fee before preparing any document for filing or accepting any fee.



                                                                                             Date    03/18/2019
X—(2
 Davi mmanuel Benton, Debtor 1, acknowledging receipt of this notice                                MM / DD / YYYY


X                                                                                            Date
    Signature of Debtor 2, acknowledging receipt of this notice                                     MM / DD / YYYY




Official Form 119                        Bankruptcy Petition Preparer's Notice, Declaration, and Signature                                  page 1
                Case 19-54537-jwc                    Doc 1          Filed 03/22/19 Entered 03/22/19 12:14:45                                   Desc
                                                                   Petition Page 53 of 62

Debtor 1       David Emmanuel Benton                                                             Case number (if known)

    Part 2:      Declaration and Signature of the Bankruptcy Petition Preparer
Under penalty of perjury, I declare that:

•    I am a bankruptcy petition preparer or the officer, principal, responsible person, or partner of a bankruptcy petition preparer;

•    I or my firm prepared the documents listed below and gave the debtor a copy of them and the Notice to Debtor by Bankruptcy Petition
     Preparer as required by 11 U.S.C. §§ 110(b), 110(h), and 342(b); and
•    If rules or guidelines are established according to 11 U.S.C. § 110(h) setting a maximum fee for services that bankruptcy petition
     preparers may charge, I or my firm notified the debtor of the maximum amount before preparing any document for filing or before
     accepting any fee from the debtor.

     Charles M. Langevin, Jr.
     Printed name                                Title, if any                         Firm name, if it applies
     201 17th Street NW
     Number     Street
     Suite 300

     Atlanta                                    GA          30363                      (678) 490-5841
     City                                       State       ZIP Code                   Contact phone

I or my firm prepared the documents checked below and the completed declaration is made a part of each document that I
check:
(Check all that apply.)

      Voluntary Petition (Form 101)                El Schedule 1 (Form 1061)                           o    Chapter 11 Statement of Your Current Monthly
                                                                                                            Income (Form 122B)
IZI Statement About Your Social Security           El Schedule J (Form 106J)
    Numbers (Form 121)                                                                                 o    Chapter 13 Statement of Your Current Monthly
                                                   El Declaration About an Individual Debtor's              Income and Calculation of Commitment Period
▪     Summary of Your Assets and Liabilities              Schedules (Form 106Dec)
                                                                                                            (Form 122C-1)
      and Certain Statistical Information
      (Form 106Sum)                                El Statement of Financial Affairs (Form 107)        o    Chapter 13 Calculation of Your Disposable
                                                                                                            Income (Form 122C-2)
Et Schedule A/B (Form 106A/B)                      El Statement of Intention for Individuals Filing
                                                          Under Chapter 7 (Form 108)
▪     Schedule C (Form 106C)                                                                           Er   Application to Pay Filing Fee in Installments
                                                                                                            (Form 103A)
IZI Schedule D (Form 106D)
                                                   El Chapter 7 Statement of Your Current
                                                          Monthly Income (Form 122A-1)
                                                                                                       o    Application to Have Chapter 7 Filing Fee
▪     Schedule E/F (Form 106E/F)                   o      Statement of Exemption from Presumption           Waived (Form 103B)
                                                          of Abuse Under § 707(b)(2)
▪     Schedule G (Form 106G)
                                                          (Form 122A-1Supp)                            El A list of names and addresses of all creditors
                                                                                                            (creditor or mailing matrix)
IZI Schedule H            106H)
                                                   o      Chapter 7 Means Test Calculation
                                                                                                       El Other      Pro-se affidavit
                                                          (Form 122A-2)

Bankrup y ,e ion pre        rers m         sign and       their cial Security numbers. If more than one bankruptcy petition preparer prepared the
docu         hic                     ,eo      p s, th        ature a        1Se rity number of each preparer must be provided. 11 U.S.C. § 110.

                                                                              3    7   1 — 9        2 — 3        0    7          0      Date    03/18/2019
         atur of bankruptcy p- /ioripr
                                    opr            Or 0          prin pal,   Social Security number of person who signed                       MM / DD / YYYY
     responsible person, or partner

     Charles M. Langevin, Jr.
     Printed name

X                                                                                                                                       Date
     Signature of bankruptcy petition preparer or officer, principal,        Social Security number of person who signed                       MM / DD / YYYY
     responsible person, or partner


     Printed name




Official Form 119                            Bankruptcy Petition Preparer's Notice, Declaration, and Signature                                          page 2
               Case 19-54537-jwc               Doc 1       Filed 03/22/19 Entered 03/22/19 12:14:45                                Desc
                                                          Petition Page 54 of 62
 Fill in this information to identify your case:                                                 Check one box only as directed in this
                                                                                                 form and in Form 122A-1Supp:
 Debtor 1           David                Emmanuel              Benton
                    First Name           Middle Name           Last Name                     ▪    1.There is no presumption of abuse.
 Debtor 2
 (Spouse, if filing) First Name                                                              o 2.The calculation to determine if a presumption
                                         Middle Name           Last Name                         of abuse applies will be made under Chapter 7
                                                                                                 Means Test Calculation (Official Form 122A-2).
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF GEORGIA
                                                                                             o 3.The Means Test does not apply now because
 Case number                                                                                     of qualified military service but it could apply
 (if known)                                                                                      later.

                                                                                             O     Check if this is an amended filing

Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                           12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
information applies. On the top of any additional pages, write your name and case number (if known). If you believe that you
are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form
122A-1Supp) with this form.


 Part 1:       Calculate Your Current Monthly Income

1.   What is your marital and filing status? Check one only.

     IZI Not married. Fill out Column A, lines 2-11.
     o    Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

     O    Married and your spouse is NOT filing with you. You and your spouse are:

           o   Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

           o   Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you
               declare under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you
               and your spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).


                                                                      sources, aerlye, during
                                                                     re filing on September 1
                                                                            months, add the income for 'a
                                                                             example if - oih;s6:6!.6sT6




2.   Your gross wages, salary, tips, bonuses, overtime, and commissions                           $795.87
     (before all payroll deductions).

3.   Alimony and maintenance payments. Do not include payments from a spouse                        $0.00
     if Column B is filled in.

4.   All amounts from any source which are regularly paid for household                             $0.00
     expenses of you or your dependents, including child support. Include
     regular contributions from an unmarried partner, members of your household,
     your dependents, parents, and roommates. Include regular contributions from
     a spouse only if Column B is not filled in. Do not include payments you listed
     on line 3.




Official Form 122A-1                         Chapter 7 Statement of Your Current Monthly Income                                              page 1
               Case 19-54537-jwc              Doc 1         Filed 03/22/19 Entered 03/22/19 12:14:45              Desc
                                                           Petition Page 55 of 62

Debtor 1      David Emmanuel Benton                                                      Case number (if known)




5.   Net income from operating a business, profession, or farm

                                           Debtor 1              Debtor 2

     Gross receipts (before all                    $0.00
     deductions)

     Ordinary and necessary operating —            $0.00     —
     expenses
                                                                               Copy
     Net monthly income from a business,           $0.00                       here 4             $0.00
     profession, or farm

6.   Net income from rental and other real property

                                           Debtor 1              Debtor 2

     Gross receipts (before all                    $0.00
     deductions)

     Ordinary and necessary operating —            $0.00     —
     expenses
                                                                                Copy
     Net monthly income from rental or             $0.00                        here 4            $0.00
     other real property

7.   Interest, dividends, and royalties                                                           $0.00

8.   Unemployment compensation                                                                    $0.00

     Do not enter the amount if you contend that the amount received was a
     benefit under the Social Security Act. Instead, list it here:      40

           For you                                                          $0.00

           For your spouse

9.   Pension or retirement income. Do not include any amount received that                         $0.00
     was a benefit under the Social Security Act.

10. Income from all other sources not listed above. Specify the source and
    amount. Do not include any benefits received under the Social Security Act
    or payments received as a victim of a war crime, a crime against humanity,
    or international or domestic terrorism. If necessary, list other sources on a
    separate page and put the total below.

     Clergy Income                                                                            $3,200.00




     Total amounts from separate pages, if any.                                          +                 +
 11. Calculate your total current monthly income.
     Add lines 2 through 10 for each column.                                                  $3,995.87    +      =   $3,995.87
     Then add the total for Column A to the total for Column B.
                                                                                                                  Total current
                                                                                                                  monthly income




 Official Form 122A-1                        Chapter 7 Statement of Your Current Monthly Income                            page 2
                 Case 19-54537-jwc                Doc 1       Filed 03/22/19 Entered 03/22/19 12:14:45                                 Desc
                                                             Petition Page 56 of 62

Debtor 1      David Emmanuel Benton                                                           Case number (if known)

 Part 2:         Determine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year. Follow these steps:

    12a. Copy your total current monthly income from line 11                                           Copy line 11 here    4   12a.        $3,995.87

            Multiply by 12 (the number of months in a year).                                                                           X      12

    12b. The result is your annual income for this part of the form.                                                            12b.       $47,950.44


13. Calculate the median family income that applies to you. Follow these steps:

    Fill in the state in which you live.                               Georgia


    Fill in the number of people in your household.                        4


     Fill in the median family income for your state and size of household                                                       13.       $80,510.00

     To find a list of applicable median income amounts, go online using the link specified in the separate
     instructions for this form. This list may also be available at the bankruptcy clerk's office.


14. How do the lines compare?

     14a. 1Z1 Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
              Go to Part 3.
     14b.    0    Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                  Go to Part 3 and fill out Form 122A-2.


  Part 3:        Sign Below

      By signing here, I declare under penalt         erjury that the information on this statement and in any attachments is true and correct.


       X                                                                           X
                 d Emmanuel Benton,        or 1                                        Signature of Debtor 2


            Date 3/18/2019                                                             Date
                 MM / DD / YYYY                                                               MM / DD / YYYY

       If you checked line 14a, do NOT fill out or file Form 122A-2.

       If you checked line 14b, fill out Form 122A-2 and file it with this form.




 Official Form 122A-1                             Chapter 7 Statement of Your Current Monthly Income                                               page 3
              Case 19-54537-jwc           Doc 1     Filed 03/22/19 Entered 03/22/19 12:14:45                   Desc
                                                   Petition Page 57 of 62
                                      UNITED STATES BANKRUPTCY COURT
                                       NORTHERN DISTRICT OF GEORGIA
                                              ATLANTA DIVISION
  IN RE:   David Emmanuel Benton                                                 CASE NO

                                                                                CHAPTER       7


                                     VERIFICATION OF CREDITOR MATRIX


      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 3/18/2019                                           Signature
                                                                          mmanuel Benton




Date                                                     Signature
 Case 19-54537-jwc     Doc 1    Filed 03/22/19 Entered 03/22/19 12:14:45   Desc
                               Petition Page 58 of 62

ALDRIDGE PITE
15 PIEDMONT CENTER
3575 PIEDMONT RD
SUITE 500
ATLANTA GA 30305

AT
208 S AKARD ST
DALLAS TX 75202



CAPITAL ONE
PO BOX 30285
SALT LAKE CITY UT 84130



CAVALRY PORTFOLIO SERVICES
500 SUMMIT LAKE DR
VALHALLA NY 10595



CHARLES M LANGEVIN JR
201 17TH STREET NW
SUITE 300
ATLANTA GA 30363


CHASE
PO BOX 36520
LOUISVILLE KY 40233



COOLING & WINTER LLC
1355 ROSWELL RD
SUITE 240
MARIETTA GA 30062


COVINGTON CREDIT
150 EXECUTIVE CENTER DR
GREENVILLE SC 29615



CREDIT ONE
PO BOX 60500
CITY OF INDUSTRY CA 91716
 Case 19-54537-jwc      Doc 1    Filed 03/22/19 Entered 03/22/19 12:14:45   Desc
                                Petition Page 59 of 62

ENHANCED RECOVERY
PO BOX 57547
JACKSONVILLE FL 32241



HOME FURNISHINGS CREDIT
PO BOX 12812
NORFOLK VA 23541



ISPC
1115 GUNN HWY
SUITE 100
ODESSA FL 33556


KOHLS
PO BOX 2983
MILWAUKEE WI 53201



MACY'S
PO BOX 8218
MASON OH 45040



MIDLAND FUNDING
2365 NORTHSIDE DRIVE
SUITE 300
SAN DIEGO CA 92108


NEWNAN UTILITIES
70 SEWELL RD
NEWNAN GA 30263



ONLINE INFORMATION SERVICES
PO BOX 1489
WINTERVILLE NC 28590



PORTFOLIO RECOVERY
120 CORPORATE BLVD
NORFOLK VA 23502
 Case 19-54537-jwc      Doc 1    Filed 03/22/19 Entered 03/22/19 12:14:45   Desc
                                Petition Page 60 of 62

STATE FARM BANK
PO BOX 853944
RICHARDSON TX 75085




SW CREDIT SVCS
4120 INTERNATIONAL PKWY
STE 1100
CARROLLTON TX 75007


SYNCHRONY BANK/BELK
PO BOX 105972
ATLANTA GA 30342




SYNCHRONY BANK/CARE CREDIT
PO BOX 105972
ATLANTA GA 30342




SYNCHRONY BANK/LOWES
PO BOX 105972
ATLANTA GA 30342




SYNCHRONY BANK/PAYPAL
PO BOX 105972
ATLANTA GA 30342




SYNCHRONY BANK/SAM'S CLUB
PO BOX 105972
ATLANTA GA 30342




SYNCHRONY BANK/WALMART
PO BOX 105972
ATLANTA GA 30342




TVE HOMES LLC
4107 OXFORD CROSSING DR
DECATUR GA 30034
   Case 19-54537-jwc      Doc 1    Filed 03/22/19 Entered 03/22/19 12:14:45   Desc
                                  Petition Page 61 of 62


U. S. BANKRUPTCY COURT / NORTHERN DISTRICT OF GEORGIA / ATLANTA DIVISION

RECEIPT #01255161 (HD) OF 03/22/2019


ITEM     CODE   CASE          QUANTITY                        AMOUNT   BY

   1     7IN    19-54537              1                      $ 75.00   Currency
                Judge - unknown at time of receipt
                Debtor - DAVID EMMANUEL BENTON


TOTAL:                                                       $ 75.00


FROM: David Emmanuel Benton
      2433 Wedgewood Ct
      Decatur, GA 30035
      678-908-5217




                                     Page 1 of 1
                   Case 19-54537-jwc                Doc 1        Filed 03/22/19 Entered 03/22/19 12:14:45                                Desc
                                                                Petition Page 62 of 62
   Case Number: 19-54537                                       Name: Benton                                                    Chapter: 7

Please submit the following original documents to the Court for filing so that the case will proceed timely. If you would like to have a filed-
stamped copy of the documents, please submit an extra copy along with a self-addressed stamped envelope.

1E] Individual - Series 100 Forms                                                             0 Non-Individual - Series 200 Forms

 MISSING DOCUMENTS DUE WITHIN 7 DAYS                                                            Petition Deficiencies:
 O Complete List of Creditors (names and addresses of all creditors)                            O Last 4 digits of SSN
 O Pro Se Affidavit (due within 7 days, signature must be notarized,                            O Address 0 County
 or witnessed by a Court Intake Clerk, accompanied by a picture I.D.)                           O Type of Debtor
 O Signed Statement of SSN (due within 7 days)                                                  O Chapter
                                                                                                El Nature of Debts
   MISSING DOCUMENTS DUE WITHIN 14 DAYS                                                         O Statistical Estimates
   1=1 Statement of Financial Affairs                                                           O Venue
   O Schedules: A/B, C, D, E/F, G, H, I, J El J-2 (different address for Debtor 2)              O Attorney Bar Number
   O Summary of Assets and Liabilities
   O Declaration About Debtor(s) Schedules
                                                                                                                          Case filed via:
   O Attorney Disclosure of Compensation
                                                                                                       Intake Counter by:
   O Petition Preparer's Notice, Declaration and Signature (Form 119)
                                                                                                        O Attorney
   O Disclosure of Compensation of Petition Preparer (Form 2800)
                                                                                                         E Debtor - verified ID: 678-908-5217
   O Chapter 13 Current Monthly Income
                                                                                                        O Other - copy of ID:
   O Chapter 7 Current Monthly Income
   O Chapter 11 Current Monthly Income                                                             El Mailed by:
   1=1 Certificate of Credit Counseling (Individuals only)                                             ID Attorney
   O Pay Advices (Individuals only) (2 Months)                                                         O Debtor
   0 Chapter 13 Plan, complete with signatures (local form)                                            171 Other:
   O Corporate Resolution (Business Ch. 7 & 11)
                                                                                                               History of Case Association
   Ch.11 Business
   O 20 Largest Unsecured Creditors
                                                                                                   Prior cases within 2 years:
   O List of Equity Security Holders
   O Small Business - Balance Sheet
   O Small Business - Statement of Operations                                                      Signature:
   O Small Business - Cash Flow Statement                                                          Acknowledgment of receipt of check list
   O Small Business - Federal Tax Returns

   MISSING DOCUMENTS DUE WITHIN 30 DAYS
   I=1 Statement of Intent — Ch. 7 (Individuals only)

Official and Local Bankruptcy Forms are available on the Court's website at: www.ganb.uscourts.gov. If filing bankruptcy without an
attorney, please read the information regarding Filing Bankruptcy without an Attorney at: www.uscourts.gov/services-forms/bankruptcy/filing-
without-attorney.

FILING FEE INFORMATION - if the required filing fees are not paid in full at the time of case filing, an Order will be forthcoming:
       El Paid $ 75.00 cash M 2g-Order

                   You may mail documents and filing fee payments (no personal checks accepted - cashier's check or money orders only to the address below.
                             All fee payments and documents filed with the Court must show the debtor's name and bankruptcy case number.
                                      **Failure to Comply may result in the dismissal of your case.**
                                                     UNITED STATES BANKRUPTCY COURT
                                                       75 Ted Turner Drive, SW, Room 1340
                                                              Atlanta, Georgia 30303
                                                                  404-215-1000



 Intake Clerk:     H.D.                  Date: 3/22/19                        Case Opener:                                            Date:
